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  1 [Attorneys On Next Page]
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  8                      UNITED STATES DISTRICT COURT
  9                     CENTRAL DISTRICT OF CALIFORNIA
 10                              WESTERN DIVISION
 11
 12 GIGANEWS, INC., a Texas                 Case No.: 2:17-cv-05075-AB (JPR)
    corporation; and LIVEWIRE
 13 SERVICES, INC., a Nevada                DISCOVERY MATTER
    corporation,                            Before Hon. Jean P. Rosenbluth
 14
                    Plaintiffs,             JOINT STIPULATION REGARDING
 15                                         PLAINTIFFS’ MOTION TO COMPEL
          v.                                INTERROGATORY RESPONSES,
 16                                         PRODUCTION OF DOCUMENTS,
    PERFECT 10, INC., a California          AND CONTINUED DEPOSITIONS OF
 17 corporation; NORMAN ZADA, an            NORMAN ZADA AND PERFECT 10
    individual; and DOES 1-50, inclusive,   (LOCAL RULE 37-2)
 18
                    Defendants.             Date:      September 10, 2018
 19                                         (Per Court Order, Dkt. 60)
                                            Time:      10:00 am
 20                                         Courtroom: 690, 255 E. Temple St.,
                                                       Los Angeles, CA 90012
 21
                                            Discovery Cut-off: Sept. 10, 2018
 22                                         Trial Date:        January 15, 201
 23
 24
 25
 26
 27
 28
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  1 I.      INTRODUCTION
  2         The parties submit this joint stipulation on Plaintiffs Giganews and
  3 Livewire’s motion to compel further interrogatory responses, production of
  4 documents, and deposition testimony of Norman Zada. Civ. L. R. 37-2. The
  5 parties conducted a conference of counsel by telephone on June 26, 2018, and on
  6 the record at the depositions of Norman Zada and Perfect 10 on July 11, 2018. As
  7 Local Rule 37-2.1 requires, Plaintiffs attach a copy of the Court’s scheduling order
  8 and recent order amending the schedule as Exhibits A and B to the Declaration of
  9 Todd Gregorian (“Gregorian Decl.”), which accompanies this joint stipulation.
 10         Fact discovery currently closes on September 10, 2018 and expert discovery
 11 closes on October 29, 2018.
 12         A.    Plaintiffs’ Preliminary Statement
 13         As the Court is aware, Plaintiffs in this case seek to recover cash and assets
 14 that Perfect 10’s CEO Norman Zada transferred from Perfect 10 to himself to avoid
 15 paying the Court’s $5+ million fee award in Perfect 10 v. Giganews, C.D. Cal. No.
                                  1


 16 CV 11-7098 (“Related Case”). Zada took $850,000 out of Perfect 10’s bank
 17 account immediately after the District Court granted summary judgment. See
 18 Related Case, Dkt. 802 at 3. He “bought” Perfect 10’s physical assets, nominally
 19 paying in cash, but then he continued to transfer that cash indiscriminately between
 20 Perfect 10 and his personal accounts. Zada testified that he did so to avoid
 21 enforcement of the Court’s judgment and the resulting “interference” with Perfect
 22 10’s business.
 23         On July 19, 2018, the Court heard Defendants’ motion to compel and for
 24 protective order, which it largely granted. See Dkts. 45-1 (“1st MTC”), 52
 25 (“Order”). The motion sought documents related to Perfect 10 and Zada’s
 26 liabilities. But the Court provided additional guidance in an attempt to head off
 27
     The District Court awarded approximately $5.6 million; with an award of appellate
      1

 28 fees by the Ninth Circuit, the award has climbed to approximately $6.5 million.
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  1 future disputes, specifically that Plaintiffs “are entitled to a complete statement of
  2 [Zada’s] accounts,” and “an accounting of all of his assets.” Gregorian Decl. Ex. C
  3 (“Hearing Transcript”) at 18:4–16.
  4         Defendants largely ignored the Court’s guidance and made a minimal
  5 production in response to its order. Giganews and Livewire therefore seek the
  6 Court’s further assistance with these disputes:
  7         1.     Ordering complete responses to Giganews’s interrogatories and
  8                production of asset information.
  9         Plaintiffs’ first motion to compel set forth the reasons why Defendants’
 10 financial information, including about their assets, is relevant. See Dkt. 45-1 at 9–
 11 11. The Court agreed, saying: “I do think you’re entitled to an accounting of all of
 12 his assets. And so if to the extent that would help forestall any future motion work,
 13 I’ll make that clear because I’m going to say that you are entitled to it I think.”
 14 Hearing Transcript at 18:11–15. Defendants have persistently refused to provide all
 15 documents regarding funds and assets that are nominally Zada’s, despite the
 16 Court’s clear instructions. See Order at 1; Hearing Transcript at 24:14–22.
 17         Defendants also provided inadequate interrogatory responses regarding their
 18 asset transfers. Plaintiffs bear the burden to show that Perfect 10 received
 19 inadequate value in exchange for the transfers. To do so, they must know which
 20 assets Defendants transferred. But Defendants have provided only generic
 21 descriptions, such as “desks” or “computers” that are designed to preclude further
 22 assessment of their value.
 23         2.     Compelling additional deposition time that Zada squandered and
 24                ordering him to answer questions about his assets.
 25         Mr. Zada appeared for a deposition on July 11 in both his individual capacity
 26 and as a representative for Perfect 10. Plaintiffs agreed to have the depositions run
 27
 28
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  1 concurrently for the sake of efficiency, but they reserved the right to full time for
  2 both depositions.
  3         Zada arrived almost an hour late. Gregorian Decl. ¶ 13, Exs. I–K. He
  4 refused to answer questions about his assets based on objections the Court has now
  5 rejected. He also wasted extensive time on the record, taking a phone call, giving
  6 long non-responsive speeches about the copyright case, and insulting Plaintiffs and
  7 their attorneys. The Court should grant Giganews and Livewire leave to take an
  8 additional four hours of Mr. Zada and Perfect 10’s testimony; order Mr. Zada and
  9 Perfect 10 to pay the court reporter, videographer, and location expenses of the
 10 additional deposition time; and compel Zada to give responsive answers to the
 11 questions he refused to answer.
 12         B.     Defendants’ Preliminary Statement
 13
            Plaintiffs have failed to include Defendants Amended responses or
 14
      acknowledge Dr. Zada’s extensive document production which they received on
 15
      August 1, 2018. Declaration of Matt Mickelson (“Mickelson Decl.”) ¶¶ 3-4, Exs.
 16
      1-5. In order to avoid further motion practice, Dr. Zada went way beyond the
 17
      Court’s July 19 order. He produced not only documents regarding his liabilities,
 18
      but assets as well. For example, he produced all statements for his personal Bank
 19
      of America accounts 0277, and 4569 from 2013 to 2018, all banking reconciliation
 20
      statements that he could locate, all quickbooks statements that he could locate, and
 21
      virtually all pages of brokerage statements from 2013-2018 (with the exception of
 22
      certain pages that list stock positions that Dr. Zada considers trade secret that
 23
      Plaintiffs have no need for). He produced all related documents for Perfect 10
 24
      through 2018 as well. Declaration of Norman Zada (“Zada Decl.”) ¶ 2, Ex. 1.
 25
      Plaintiffs know this, yet they falsely claim that “Defendants largely ignored the
 26
      Court’s guidance and made a minimal production in response to its order,” and
 27
      “Defendants have persistently refused to provide all documents regarding funds and
 28
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  1 assets that are nominally Zada’s despite the Court’s clear instructions.” Those are
  2 intentional mistruths, designed to poison the Court.
  3         An examination of what Plaintiffs claim was a “meet and confer” (Exhibit D
  4 to the Gregorian Declaration) shows that there was never any meet and confer with
  5 regard to a privilege log, documents in native format, a second round of a
  6 deposition of Dr. Zada, or specific RFPs. The only thing that Plaintiffs properly
  7 met and conferred on was their interrogatory requests. The first letter on June 18,
  8 2018, discusses solely interrogatory responses. It does discuss statements from
  9 Chase, Wells Fargo Advisors, etc. but those have been produced from 2013 to
 10 2018. None of the current RFPs were discussed in that letter. The second letter
 11 only discusses interrogatories as well.2
 12         We would respectfully request that the Court follow the rules regarding meet
 13 and confers, and deny Plaintiffs motion with respect to all requests for which it is
 14 clear that they did not meet and confer. Because it is clear that Plaintiffs did not
 15 meet and confer with respect to a privilege log, documents in native format, and a
 16 second deposition of Dr. Zada, we believe that those requests must be denied. It is
 17 also very clear from Exhibit D that Plaintiffs did not mention any of the RFPs
 18 discussed in their motion. In other words, Defendants had no opportunity to reduce
 19 the size of the motion, to reduce the Court’s burden, which is exactly why parties
 20 are supposed to meet and confer. For that reason, Plaintiffs RFP requests must be
 21 denied as well.
 22
 23   2
       Plaintiffs’ counsel raised the issue of Defendants’ responses to the Request for
 24   Production during a telephone conversation on June 26. At that point, no
      documents had been produced. Since that date, Defendants have made multiple
 25   substantial document productions, the first on July 2, and the second on August 1, a
 26   week before Defendants received this joint stipulation, and several since. Given
      that a large document production was forthcoming on July 2, one which would
 27   provide many of the documents requested by Plaintiffs, the June 26 date was far too
      early to have any sort of meaningful meet and confer regarding requests for
 28   production. (See Mickelson Decl. ¶ 2.)
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  1         Plaintiffs did not identify anything until August 15th that inadvertently had
  2 not been produced. When they brought those items to Defendants’ attention, they
  3 were immediately produced. Zada Decl. ¶ 2, Ex. 1.
  4         What Plaintiffs appear to be doing, is simply requesting documents for all
  5 requests for which Defendants made a privacy objection, even if the request was
  6 already answered (See for example RFP 63), without explaining why the privacy
  7 objection should be waived, or meeting and conferring. This is highly improper, as
  8 it wastes the Court’s time, Defendants’ time, and simply racks up legal bills.
  9         With respect to an additional deposition of Dr. Zada at his expense, we
 10 believe that this is highly inappropriate for multiple reasons. First, Plaintiffs never
 11 met and conferred on the matter. Second, it was Plaintiffs who ended the
 12 deposition early. Dr. Zada was very responsive in his answers and even admitted
 13 that he owned 17 ounces of gold and had between $50,000 and $100,000 in cash in
 14 his safe. Zada Decl. ¶ 8, Ex. 3. Dr. Zada also identified the physical assets that he
 15 purchased from Perfect 10 in detail. Zada Decl. ¶ 8, Ex .3. Plaintiffs spent a
 16 significant amount of time asking Dr. Zada about his and Perfect 10’s assets. There
 17 is nothing more to add, especially now that all documents concerning Dr. Zada’s
 18 assets have been produced. Finally, we believe that Plaintiffs request is also highly
 19 inappropriate given that they asked the Court to prevent Defendants from deposing
 20 the one person Defendants sought to depose, and succeeded in that request.
 21         Plaintiffs are continuing to smear Dr. Zada by contending with no cite to
 22 evidence, that Zada testified that he removed money “to avoid enforcement of the
 23 Court’s judgment.” No cite is provided because no cite exists. Plaintiffs just made
 24 up the claim. It should be noted that Dr. Zada and Perfect 10 offered to pay
 25 Plaintiffs $ 2 million in cash with a $3.819 million first trust deed on Dr. Zada’s
 26 home days after the $5.63 million award was entered. If Dr. had truly intended to
 27
 28
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  1 keep the $1.75 million as Plaintiffs claim, he would never have offered $4 million
  2 more than that when Plaintiffs actually became creditors.
  3         It is also not true that Defendants provided “only generic descriptions, such
  4 as ‘desks’ or ‘computers.’ Dr. Zada specifically described his desk and couch as
  5 being purchased in 2000 for around $10,000 and $8,000 respectively, with values
  6 he estimates today of $3,000 and $2,000. He doesn’t have the receipts. Zada Decl.
  7 ¶ 8, Ex. 3. What more can he do?
  8         Defendants request that the Court review Defendants’ actual production and
  9 their amended responses before making any order. We will be providing the Court
 10 with a drive at the hearing which contains all of the documents that were produced.
 11 If the Court concludes that Plaintiffs have completely mischaracterized Defendant’s
 12 production and responses, it should not grant any portion of the motion.
 13         Discovery requests and responses at issue 3
 14 II.     DISCOVERY REQUESTS AND RESPONSES AT ISSUE 4
 15         A.     Giganews’s Second Set of Interrogatories to Perfect 10 and
                   Norman Zada.
 16
                   1.     Interrogatory Nos. 3 and 4
 17
            Interrogatory No.3
 18
            Identify all physical assets owned or otherwise controlled by Perfect 10
 19
      (including , but not limited to furniture, electronics, computer hardware,
 20
      photographic equipment, real property, and automobiles) at any time from January
 21
      1, 2011 to the present, including: (a) the current owner of the assets and (b) all
 22
      circumstances regarding the receipt, acquisition, transfer or disposition of the asset,
 23
 24
      Plaintiffs served identical interrogatories and requests for production on Zada and
      3

 25 Perfect 10. Defendants’ responses are almost identical, but vary in some respects,
    and appear to contradict each other in others. Plaintiffs include [bracketed sections]
 26 to identify these differences. See Gregorian Decl. Exs. O and P.
    4
      Plaintiffs served identical interrogatories and requests for production on Zada and
 27 Perfect 10. Defendants’ responses are almost identical, but vary in some respects,
    and appear to contradict each other in others. Plaintiffs include [bracketed sections]
 28 to identify these differences. See Gregorian Decl. Exs. O and P.
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  1 including the amount of any consideration exchanged for the assets, the date of the
  2 exchanges, and the parties to the exchanges.
  3         Perfect 10’s Response to Interrogatory No. 3
  4         Perfect 10 incorporates the General Objections as set forth above herein.
  5         Perfect 10 objects to this interrogatory on the grounds that it is burdensome,
  6 oppressive, compound and overbroad. Perfect 10 further objects to this
  7 interrogatory on the grounds that it seeks information not relevant to the subject
  8 matter of the action, and not reasonably calculated to lead to the discovery of
  9 admissible evidence. Perfect 10 further objects that this information is already in
 10 the possession of Plaintiffs.
 11         Subject to the above specific objections and Perfect 10’s general objections,
 12 Perfect 10 responds as follows:
 13         [Perfect 10 has had a very limited number of physical assets at any time from
 14 January 1, 2011 onward. Perfect 10 is not aware of any significant change in the
 15 physical assets owned by Perfect 10 between January 1, 2011 and March 2015
 16 when Dr. Zada purchased most of Perfect 10’s minimal physical assets for $70,000.
 17 When that transfer took place, the only physical assets which Dr. Zada is certain
 18 belonged to Perfect 10 were approximately 4,000 magazines, some tapes and
 19 DVDs, some film, a few hats, T-shirts, and other physical assets that Perfect 10 sold
 20 on its website. When Dr. Zada purchased the majority of Perfect 10’s other
 21 physical assets, such as computers, beds, and desks, he assumed those assets
 22 belonged to Perfect 10 even though he was not certain if that was the case.]
 23         At the very maximum, the physical assets owned by Perfect 10, which were
 24 transferred to Dr. Zada for two payments totaling $70,000, $20,000 on March 25,
 25 2015 and $50,000 on April 1, 2015, were the following: 4000 Perfect 10
 26 Magazines, 300 DVDs or tapes, 100 T-shirts, 50 hats, 3 bed sets, two desks, six
 27 small computers and one larger computer, a scanner, a sofa, some chairs, five
 28
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  1 printers, and miscellaneous office supplies. [To the best of Dr. Zada’s recollection,
  2 the 2009 Lexus was leased by Perfect 10 from 2009 to approximately April of 2012.
  3 When the lease expired, instead of returning the car, Dr. Zada purchased it and
  4 transferred it into his name. Because Bruce Hersh, Perfect 10’s accountant, was
  5 not informed of this transaction, he mistakenly continued to list the Lexus as a
  6 Perfect 10 asset even though it belonged to Dr. Zada as of April of 2012.] Dr. Zada
  7 did not purchase the Perfect 10’s primary assets, which were its film and
  8 trademarks, which were worth at least $11.5 million to Perfect 10. Those primary
  9 assets were provided to Plaintiffs, along with some desks and chairs and other
 10 office furniture, which Plaintiffs’ receiver elected not to take.
 11         Zada’s Response to Interrogatory No. 3
 12         Dr. Zada incorporates the General Objections as set forth above herein.
 13         Dr. Zada objects to this interrogatory on the grounds that it is burdensome,
 14 oppressive, compound and overbroad. Dr. Zada further objects to this interrogatory
 15 on the grounds that it seeks information not relevant to the subject matter of the
 16 action, and not reasonably calculated to lead to the discovery of admissible
 17 evidence. Dr. Zada further objects that this information is already in the possession
 18 of Plaintiffs. [Dr. Zada further objects to this interrogatory on the ground that it
 19 invades his privacy and is prohibited by California Civil Code section 3295.]
 20         Subject to the above specific objections and Perfect 10’s general objections,
 21 Dr. Zada responds as follows:
 22         [Dr. Zada owns the house at 11803 Norfield Court, which was purchased in
 23 or around November of 2010. He purchased a rental property at 4572 Martson, in
 24 or around June 2015, to generate some income. He purchased his 2009 Lexus in
 25 April of 2012 from Lexus when the lease agreement expired, for to the best of his
 26 recollection, approximately $33,000. In March-April of 2015, Dr. Zada purchased
 27 from Perfect 10, some furniture and computers and other physical items for a total
 28
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  1 of $70,000. Those items included his desk, his bed, his computers, the couch in his
  2 home, that would have been disruptive to have the receiver take, and which the
  3 receiver probably would not have wanted, as the receiver turned down other
  4 furniture. Dr. Zada also purchased approximately 4,000 magazines and some
  5 videos and other items that are discussed in more detail below. He did so because
  6 he believed that Perfect 10 would win its appeal and he needed those items to
  7 revive Perfect 10’s business when that happened.]
  8         At the very maximum, the physical assets owned by Perfect 10, which were
  9 transferred to Dr. Zada for two payments totaling $70,000, $20,000 on March 25,
 10 2015 and $50,000 on April 1, 2015, were the following: 4000 Perfect 10
 11 Magazines, 300 DVDs or tapes, 100 T-shirts, 50 hats, 3 bed sets, two desks, six
 12 small computers and one larger computer, a scanner, a sofa, some chairs, five
 13 printers, and miscellaneous office supplies. Dr. Zada did not purchase the Perfect
 14 10’s primary assets, which were its film and trademarks, which were worth at least
 15 $11.5 million to Perfect 10. Those primary assets were provided to Plaintiffs, along
 16 with some desks and chairs and other office furniture, which Plaintiffs’ receiver
 17 elected not to take. [Dr. Zada objects to any further description of this physical
 18 assets, which are minimal in value but substantial in size (such as the books he
 19 owns), invades his privacy, and is [sic] irrelevant to this case.]
 20         Interrogatory No. 4
 21         Identify all intangible assets owned or otherwise controlled by Perfect 10
 22 (including, but not limited to furniture, electronics, computer hardware,
 23 photographic equipment, real property, and automobiles) at any time from
 24 January 1, 2011 to the present, including (a) the current owner of the assets and (b)
 25 all circumstances regarding the receipt, acquisition, transfer or disposition of the
 26 assets, including the amount of any consideration exchanged for the assets, the
 27 dates of the exchanges, and the parties to the exchanges.
 28
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  1         Perfect 10’s Response to Interrogatory No. 4
  2         Perfect 10 incorporates the General Objections as set forth above herein.
  3         Perfect 10 objects to this interrogatory on the grounds that it is inherently
  4 contradictory, as furniture is not an “intangible asset.” Perfect 10 further objects to
  5 this interrogatory on the grounds that it seeks information not relevant to the subject
  6 matter of the action, is compound, and is not reasonably calculated to lead to the
  7 discovery of admissible evidence. Perfect 10 further objects that this information is
  8 already in the possession of Plaintiffs.
  9         Subject to the above specific objections and Perfect 10’s general objections,
 10 Perfect 10 responds as follows: [As it understands the meaning of the term
 11 “intangible,” Perfect 10 is not. aware of any “intangible assets” owned by Perfect
 12 10, other than a loan to Sean Chumura and Perfect 10’s trademarks and
 13 copyrights. By Perfect 10’s estimation, to replicate those trademarks and
 14 copyrights would cost at least $11.5 million. Any intangible assets would be listed
 15 in Perfect 10’s detailed financial statements, which are in Plaintiffs’ possession.]
 16         Zada’s Response to Interrogatory No. 4
 17         Dr. Zada incorporates the General Objections as set forth above herein.
 18         Dr. Zada objects to this interrogatory on the grounds that it is inherently
 19 contradictory, as furniture is not an “intangible asset.” Dr. Zada further objects to
 20 this interrogatory on the grounds that it seeks information not relevant to the subject
 21 matter of the action, is compound, and is not reasonably calculated to lead to the
 22 discovery of admissible evidence. Dr. Zada further objects that this information is
 23 already in the possession of Plaintiffs. [Dr. Zada further objects to this
 24 interrogatory on the ground that it invades his privacy and is prohibited By
 25 California Civil Code section 3295.]
 26         Subject to the above specific objections and Perfect 10’s general objections,
 27 Dr. Zada responds as follows: [Dr. Zada will produce documents sufficient to show
 28
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  1 that he did not have sufficient cash to pay $5.63 million when the award was
  2 entered in March of 2015. Those documents will include his personal 2014, 2015,
  3 and 2016 tax returns. His 2014 tax return lists total taxable interest of $1,534 and
  4 dividends of $4,778, from four accounts: Bank of America, Chase, Wells Fargo
  5 Advisors, and Morgan Stanley. Dr. Zada also had approximately $20,000 in a
  6 Putnam account. Dr. Zada will also provide copies of those accounts for the month
  7 of December, 2014. Together, those statements show that at the end of December
  8 2014, Dr. Zada had approximately $1,507,000 at Chase, approximately $1,057,000
  9 at Morgan Stanley, approximately $535,000 at Wells Fargo Advisors, and
 10 approximately 1,153,000 at bank of America, while Perfect 10 had approximately
 11 $263,734 at Bank of America. In other words, between Perfect 10 and Dr. Zada,
 12 they had about $4.5 million in cash and cash equivalents, not enough to pay $5.891
 13 million.
 14         Dr. Zada will also provide his Amex statements from January 2014 through
 15 January of 1017 [sic], and certain other credit card statements in response to RFP
 16 6.
 17         Dr. Zada objects to the production of any additional documents as they
 18 violate his privacy and are irrelevant to this case.]
 19         Giganews’s and Livewire’s Position
 20         These interrogatories asked Defendants to identify their physical and
 21 intangible assets, including who currently owns each asset; all circumstances
 22 surrounding Defendants’ receipt of the asset, acquisition, transfer, or disposition of
 23 the asset; and dates of any consideration exchanged for each asset. The Court has
 24 ruled that the relevant time period for this case is beginning January 1, 2013, and
 25 Plaintiffs agree to limit these requests to that time period.
 26         Perfect 10 and Zada must identify their assets with the particularity the
 27 interrogatory demands; it is not their prerogative to cherry-pick which items to
 28
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  1 disclose. Perfect 10’s response states that it had “very limited” relevant assets since
  2 2011 and contains a general reference to “other physical assets that Perfect 10 sold
  3 on its website.” Mr. Zada’s responses specifically acknowledge the existence of
  4 assets that he has not identified, and he commits to produce only documents
  5 “sufficient to show” information for specific accounts in 2015. In other words,
  6 Defendants again offered selected information that they found convenient to
  7 disclose, rather than disclosing all of the reasonably available information in their
  8 possession, custody, or control.
  9         Defendants objected to nearly all of the interrogatories on similar grounds.
 10 To avoid repetition, Plaintiffs address these objections here, and incorporate these
 11 arguments for the other interrogatories as appropriate:
 12     The Court has already overruled any “privacy” objections to disclosure of
 13                        Defendants’ financial information.
 14         Perfect 10 and Norm Zada continue to rely on a privacy objection that the
 15 Court has rejected. The Court stated at the July 19 hearing that “[Plaintiffs are]
 16 entitled to an accounting of all of [Zada’s] assets. And so if to the extent that would
 17 help forestall any future motion work, I’ll make that clear because I’m going to say
 18 that [Plaintiffs] are entitled to it.” Hearing Transcript at 18:4–16. The Court also
 19 specifically discussed Zada’s “privacy” objection:
 20
            MR. MICKELSON:             And that wasn’t produced on privacy
 21
            grounds.
 22
            THE COURT:                 All right, well there is a protective order in
 23
            this case. And that is the heart of what this case is about, you know,
 24
            the nonpayment of the judgment which, you know, is final by every
 25
            definition of the word, and so [Plaintiffs] have a right to get whatever
 26
            information they need to determine—given the allegations of the
 27
            complaint, which Judge Birotte has already held state[s] a claim, you
 28
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      MOTION TO COMPEL                          12          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         know, they are entitled to pursue this—these theories about
  2         transferring back and forth and etcetera, etcetera. So you have to turn
  3         over that stuff.
  4 Id. at 20:12–21:2 (emphasis added). The Court further explained that its “tentative
  5 position without having seen full briefing on it, is that [Plaintiffs] would be entitled
  6 to view his assets too.” Id. at 28:13-17. In other words, the Court clearly stated
  7 that it would not allow Defendants to withhold broad swaths of relevant financial
  8 information on “privacy” grounds.
  9         Plaintiffs’ original motion to compel explained at length why privacy
 10 objections are inappropriate here, where Zada himself is accused of financial fraud
 11 that involves moving Perfect 10 funds and assets into his accounts. 1st MTC at
 12 10–13, citing Evans v. DSW, Inc., No. CV 16-3791-JGB (SPx), 2017 WL 9480800,
 13 at *5 (C.D. Cal. Aug. 24, 2017); Tatung Co. v. Hsu, No. SA CV 13-1734-DOC
 14 (ANx), 2015 WL 11116906, at *3 (C.D. Cal. Feb. 12, 2015); Ashmore v. Dodds,
 15 No. 8:15-cv-00561-JMC, 2015 WL 6445985, at *4 (D.S.C. Oct. 23, 2015). Here,
 16 “the gravamen of the lawsuit is inconsistent with the application of [any privacy]
 17 privilege because the [information] sought may verify or contradict [Defendants’]
 18 claims.” Barrous v. BP P.L.C., No. C 10-2944 LHK PSG, 2011 WL 1431826, at
 19 *4 (N.D. Cal. Apr. 14, 2011). The Court has already entered such a protective
 20 order, which addresses privacy concerns. See Hearing Transcript at 20:12–21:2.
 21   Defendants’ attempts to rely on their document production are improper and
 22                                    inadequate.
 23         Perfect 10 and Zada tried to avoid identifying their assets by generally
 24 referring to their document production or to poorly identified subsets. (Some of
 25 these references are in the responses themselves; Defendants’ counsel made others
 26 during the conference for the motion.) These are improper.
 27       A Rule 33(d) response is appropriate only if “the burden of deriving or
 28 ascertaining the answer will be substantially the same for either party.” See Fed. R.
    JOINT STIPULATION RE PLAINTIFFS’
    MOTION TO COMPEL                          13         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 Civ. P. 33(d); see also O’Conner v. Boeing of N.A., Inc., 185 F.R.D. 272, 277 (C.D.
  2 Cal. 1999) (internal citations omitted). The responses must specify “the records
  3 that must be reviewed, in sufficient detail to enable the interrogating party to locate
  4 and identify them as readily as the responding party could.” Fed. R. Civ. P. 33(d);
  5 see also Rainbow Pioneer No. 44-18-04A v. Hawaii-Nevada Inv. Corp., 711 F.2d
  6 902, 906 (9th Cir. 1983); West v. Ultimate Metals Co., No. 13-cv-3651-WHO
  7 (MEJ), 2014 WL 466795, at *2 (N.D. Cal. Feb. 3, 2014).
  8         Defendants’ responses fail to satisfy their obligations. They identify no
  9 specific documents by Bates number. See Resp. to Rog. No. 4 (“[a]ny intangible
 10 assets would be listed in Perfect 10’s detailed financial statements, which are in
 11 Plaintiffs’ possession”). And even if Defendants had identified their financial
 12 records specifically, the burden to ascertain the responsive information remains
 13 unequal. The financial records contain numerous entries that Plaintiffs do not
 14 understand and cannot confirm without deposition testimony from Defendants.
 15 Defendants, by contrast, know what those entries represent. Defendants may not
 16 refer to “thousands of pages of documents” in response to an interrogatory that goes
 17 “to the core of [a plaintiff’s] . . . claim[s].” Reinsdorf v. Sketchers U.S.A., Inc., No.
 18 CV 10-7181 DDP (SSx), 2012 WL 12882125, at *2–4 (C.D. Cal May 11, 2012);
 19 see also Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313, 323 (C.D.
 20 Cal. 2004). The Court should reject Defendants’ attempt to rely on 33(d) and order
 21 complete, verified responses.
 22                Defendants’ time limitation is arbitrary and improper.
 23         Defendants refused to identify assets they have possessed since 2015, and
 24 they limited their production accordingly. See Gregorian Decl. ¶ 5, Ex. D. The
 25 Court has indicated that the relevant period for examination of Defendants’
 26 liabilities is from 2013 to the present.
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                           14          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         The same time period should apply to Defendants’ assets, transfers, and other
  2 financial interests, because they relate to the same inquiries: Perfect 10’s solvency,
  3 the true ownership of various assets, and identification of any indirect or concealed
  4 fraudulent transfers between Defendants.
  5         Defendants’ Position
  6         Plaintiffs have failed to include Defendants amended discovery responses
  7 which make clear that Dr. Zada made a major effort to produce all his personal
  8 financial documents from 2013 through 2018. They received a major production of
  9 those documents on August 1, 2018, a week before filing their joint stip, and have
 10 received more since. Because of Defendant’s extensive production of virtually all
 11 of Dr. Zada’s most personal financial information from 2013 through 2018, the vast
 12 majority of Plaintiffs’ complaints here are moot. Zada Decl. ¶ 2, Ex. 1. The only
 13 conclusion to be drawn from Plaintiffs obstinate insistence on filing a motion to
 14 compel is that, once again, they are attempting to manufacture a discovery dispute
 15 to poison Judge Birotte against Defendants. To the best of his knowledge, Dr.
 16 Zada has produced all documents regarding his personal assets, and there is nothing
 17 else responsive for Dr. Zada to produce. 5 Zada Decl. ¶ 2, Ex. 1. Plaintiffs falsely
 18 claim that “Mr. Zada’s responses specifically acknowledge the existence of assets
 19 that he has not identified, and he commits to produce only documents ‘sufficient
 20 to show’ information for specific accounts in 2015.” Plaintiffs know that isn’t
 21 true because Dr. Zada produced virtually all bank statements and brokerage
 22 statements from 2013 through 2018 by August 1, and has since added a few missed
 23 pages to make the production complete. For example, Dr. Zada produced chase
 24
 25  In a few instances Dr. Zada produced pages sufficient to show the value of the
      5


 26 account  but did not include the actual stocks positions for trade secret reasons.
    While Plaintiffs may be entitled to see the value of Dr. Zada’s brokerage accounts,
 27 there is no reason why they need to see what stocks he holds or what trades he
    makes, and Defendants will appeal any order that requires him to disclose that
 28 information. (See Zada Decl. ¶ 2, Ex. 1)
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    MOTION TO COMPEL                            15         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 statements as “chase added 2013-2018,” and his personal bank statements as “BOA
  2 NZ 2015-2018.” Defendants will bring a thumb drive with all the responsive
  3 documents on it to the hearing so that the Court can confirm this for itself. Zada
  4 Decl. ¶ 2, Ex. 1. Plaintiffs also falsely claim that “Defendants objected to nearly
  5 all the interrogatories on similar grounds.” They did not include Defendants
  6 amended responses in their portion of the joint stip, which make clear that
  7 Defendants produced all responsive documents. (Mickelson Decl. Exh. 1-5.) The
  8 simple fact is that Dr. Zada produced virtually all of his personal statements from
  9 2013 to 2018 by August 1 to avoid further motion practice but here we are again.
 10 Defendants’ claims that Dr. Zada did not describe all of his assets in his deposition
 11 are false. For example, Dr. Zada testified that he had 17 ounces of gold and
 12 somewhere between $50,000 and $100,000 in his safe. Zada Decl. ¶ 8, Ex. 3. He
 13 also described the assets that he purchased from Perfect 10 to the best of his ability
 14 and in detail. Zada Decl. ¶ 8, Ex. 3.
 15         Between his deposition transcript, his interrogatory responses, and his
 16 document productions, Dr. Zada has presented all of the information regarding his
 17 assets that he has. Zada Decl. ¶¶ 3, 5. In his deposition, he stated, “I’m going to
 18 tell you again, three bed sets purchased in 2000 for around 2,000 each, a desk
 19 purchased in 2000 for around 10,000, a couch purchased in 2000 for around 8,000,
 20 a scanner purchased in 2004 for around 8,000. Some small computers that were
 21 purchased - - I don’t know when exactly, but they were not new, somewhere I’m
 22 saying between 2006 and 2010. One larger computer that was purchased I think for
 23 around seven thousand. And then some - - a couple of small printers, some pens
 24 and paper – you know that kind of stuff. There was really not much there.” Zada
 25 Decl. ¶ 8, Ex. 3. The physical assets are also described in the interrogatory
 26 responses. (See response to Interrogatory 3).
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          16         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Next, Plaintiffs attempt to make an issue about Bates Numbers. They
  2 provide no case law supporting the assertion that a response to an interrogatory
  3 under Rule 33(d) requires specific reference to Bates Numbers, because none exists
  4 (indeed there is not even a requirement to Bates Number documents in the Federal
  5 Rules. (See Franco-Gonzalez v. Holder, No. CV 10-2211-DMG DTBX, 2013 WL
  6 8116823, at *2 (C.D. Cal. May 3, 2013)) But the more important point here is that
  7 Defendants’ reference to the documents produced as a whole is absolutely
  8 appropriate in the context of Plaintiffs’ vast demands for information. Plaintiffs in
  9 their interrogatories demand a list of each and every single dollar or item of value
 10 ever owned by Dr. Zada or Perfect 10, from 2011 on (now narrowed by the Court to
 11 2013 on.) The appropriate response to such a request is to produce, in date order,
 12 the bank and brokerage statements which encapsulate that information sought.
 13 Reference to specific Bates Numbers is not needed because all of the responding
 14 documents provide the information sought by Plaintiffs, which is the natural
 15 consequence of a request that seeks all information on assets over a five year period
 16 Dr. Zada produced documents that were neatly organized by bank, brokerage
 17 house, etc. For example, all Morgan Stanley statements were combined into a
 18 single document. All Wells Fargo advisor statements were combined into a single
 19 document. Zada Decl. ¶2, Ex. 1. The list of Perfect 10’s intellectual property has
 20 been in Plaintiffs possession for years, and remains the same now. 6 Finally, the
 21 physical property, as discussed before, has been specifically and painstakingly
 22 detailed in the discovery responses and in Dr. Zada’s deposition testimony.
 23 Plaintiffs can easily see where Dr. Zada has his money, they are just trying to
 24 manufacture a claim that Dr. Zada is guilty of discovery abuse when exactly the
 25 opposite is true. In contrast, Plaintiffs haven’t produced a single document in this
 26 case and they have refused to answer most interrogatory and RFA requests.
 27
     Moreover, after the Receiver took possession of Perfect 10’s intellectual property
      6

 28 is produced an inventory which is also in Plaintiffs’ possession.
    JOINT STIPULATION RE PLAINTIFFS’
    MOTION TO COMPEL                          17          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Plaintiff’s make the completely false claim that “Defendants refused to
  2 identify assets they have possessed since 2015 and they limited their production
  3 accordingly. See Gregorian Decl. ¶ 5, Ex. D.” In fact, Dr. Zada produced virtually
  4 all brokerage and bank statements through 2018 by August 1, and has filled in the
  5 few documents he missed since then. Zada Decl. ¶ 2, Ex. 1. We respectfully
  6 request that the Court make a determination as to whether Plaintiffs’ statement
  7 claiming that Dr. Zada limited his production to 2015 is truthful. If it is not, we
  8 request that the Court take whatever action it deems fit, including by so finding in
  9 any ruling it makes with respect to Plaintiff’s motion. (See Defendants’ Proposed
 10 Order). Plaintiffs cite to Gregorian Decl. Exhibit D, but that document has an
 11 email from Matt Mickelson, attorney for Defendants, stating that “All bank
 12 statements and financial statements of all kinds for both Perfect 10 and Dr. Zada
 13 have been produced from 2013 on…” In other words, the cited to “evidence”
 14 actually refutes the claim. Plaintiffs apparently believe that the Court is just going
 15 to take their word for it, and not review the claimed underlying evidence.
 16         Plaintiffs also completely misstate the Court’s ruling. What the Court
 17 preliminarily found was that Plaintiffs were entitled to an accounting of Zada’s
 18 assets, which they have received. The Court did not find that Dr. Zada had no
 19 privacy rights at all. Specifically, after Defendants’ attorney strongly disputed
 20 Plaintiffs’ right to personal, confidential and irrelevant financial documents from
 21 2015 on, the Court stated “Yeah, and again, I mean, my tentative position without
 22 having seen full briefing on it, is that they would be entitled to view his assets too,
 23 but if, you know, you're going to have to -- you're right, that's not before me, and
 24 we'll just see where that goes.” (Plaintiffs’ Exh. C at p. 28:13-17.) So the Court has
 25 not decided that Defendants have no privacy rights here and that Plaintiffs are
 26 entitled to anything they want. Plaintiffs have all the documents regarding transfers
 27 to and from Perfect 10’s bank account. That was produced long ago. Plaintiffs
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          18          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 have simply not articulated a reason why personal private financial information
  2 from the current day (not four years ago, when the transfers occurred) has any
  3 relevance to their claims, and none of their cited case law bears on the factual
  4 situation that obtains here – a complaint alleging discrete, specific cases of
  5 fraudulent transfer from an entity to an individual, occurring several years ago.
  6 While financial information concerning the transfer of the funds is, of course,
  7 relevant, subsequent financial information has nothing to do with proving up
  8 Plaintiffs’ claims. 7
  9         Plaintiffs also conveniently make claims without providing any specificity.
 10 For example, they say, “The financial records contain numerous entries that
 11 Plaintiffs do not understand …” What financial records, and why haven’t Plaintiffs
 12 met and conferred on any of these matters or asked Defendants for an explanation?
 13 None whatsoever is provided in this motion. Moreover, Plaintiffs possessed many
 14 of the produced documents at Dr. Zada’s previous deposition, yet failed to ask
 15 about the supposedly obscure entrees in that venue. The Court can’t possibly know
 16 what to belief because Plaintiffs are making general complaints without identifying
 17 any specific problems. Defendants have no idea what Plaintiffs think they are
 18 lacking either. More importantly, the financial records are for the most part simple.
 19 They show assets and list dollar amount values. This is not complex or
 20 complicated.
 21
 22
 23
 24
      ///
 25
 26
     As described above, this issue is basically moot since Dr. Zada has decided to
      7

 27 produce all documents and information concerning his current assets; nonetheless,
    Defendants continue to interpose their privacy arguments to prevent any further
 28 attempts by Plaintiffs to rummage around Dr. Zada’s personal life.
    JOINT STIPULATION RE PLAINTIFFS’
    MOTION TO COMPEL                           19         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1               2.     Interrogatory No. 5
  2         Interrogatory No. 5
  3         For each asset that Interrogatory 3 or 4 calls to be identified, identify all facts
  4 regarding the asset’s value, including all valuations of the assets, at any time from
  5 January 1, 2011 to the present.
  6         Perfect 10’s Response to Interrogatory No. 5
  7         Perfect 10 objects to this interrogatory on the grounds that it is burdensome,
  8 oppressive, compound and overbroad. Perfect 10 further objects to this
  9 interrogatory on the grounds that it seeks information not relevant to the subject
 10 matter of the action, and not reasonably calculated to lead to the discovery of
 11 admissible evidence.
 12         Subject to the above specific objections and Perfect 10’s general objections,
 13 Perfect 10 responds as follows:
 14         Because Perfect 10 previously sold magazines in bulk for around 10 cents per
 15 magazine, the 4000 magazines were worth approximately $400 in total. Because the
 16 cost of selling the T-shirts, hats, DVDs and other physical items offered by Perfect
 17 10 exceeded sales, those were worth nothing. The bed sets were purchased for
 18 around $2,000 each in the year 2000. Based on prices shown on ebay, they were
 19 likely worth at most $500 each. Dr. Zada’s desk cost about $10,000 in the year
 20 2000. Based on prices shown on ebay, Perfect 10 estimates that it was probably
 21 worth around $3,000. The other office furniture was apparently worth nothing,
 22 because the receiver elected not to take it. Based on prices for used computers on
 23 Ebay, the six smaller computer and one larger computer were probably worth in
 24 total, at most $3,000. The scanner was purchased in or around 2004 for around
 25 $8,000, to the best of Dr. Zada’s recollection. It would probably be worth at most
 26 $2,000 today. Assuming that the printers and office supplies were worth $2,000, the
 27 physical assets that were transferred to Dr. Zada were worth around $11,900, in
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                           20          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 Perfect 10’s estimation. In other words, Dr. Zada paid approximately $58,100 more
  2 than the physical assets were worth.
  3         Because Perfect 10 photographed close to 1,000 models at a cost of
  4 approximately $9,000 per photoshoot, including model fee, photographer fee,
  5 location fee, hair and makeup, assistant fees, referral fees, travel fees, etc. and
  6 purchased third party film for more than $2.5 million, the cost of replicating Perfect
  7 10’s film library is at least $11.5 million. [Perfect 10 is not aware of any valuation
  8 of the value of its loan to Sean Chumura.]
  9         Zada’s Response to Interrogatory No. 5
 10         Dr. Zada objects to this interrogatory on the grounds that it is burdensome,
 11 oppressive, compound and overbroad. Dr. Zada further objects to this interrogatory
 12 on the grounds that it seeks information not relevant to the subject matter of the
 13 action, and not reasonably calculated to lead to the discovery of admissible
 14 evidence. [Dr. Zada further objects to this interrogatory on the ground that it
 15 invades his privacy and is prohibited by California Civil Code section 3295.]
 16         Subject to the above specific objections and Dr. Zada’s general objections,
 17 Dr. Zada responds as follows:
 18         Because Perfect 10 previously sold magazines in bulk for around 10 cents per
 19 magazine, the 4000 magazines were worth approximately $400 in total. Because the
 20 cost of selling the T-shirts, hats, DVDs and other physical items offered by Perfect
 21 10 exceeded sales, those were worth nothing. The bed sets were purchased for
 22 around $2,000 each in the year 2000. Based on prices shown on ebay, they were
 23 likely worth at most $500 each. Dr. Zada’s desk cost about $10,000 in the year
 24 2000. Based on prices shown on ebay, Dr. Zada estimates that it was probably
 25 worth around $3,000. The other office furniture was apparently worth nothing,
 26 because the receiver elected not to take it. Based on prices for used computers on
 27 Ebay, the six smaller computer and one larger computer were probably worth in
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                           21         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 total, at most $3,000. The scanner was purchased in or around 2004 for around
  2 $8,000, to the best of Dr. Zada’s recollection. It would probably be worth at most
  3 $2,000 today. Assuming that the printers and office supplies were worth $2,000, the
  4 physical assets that were transferred to Dr. Zada were worth around $11,900, in
  5 Perfect 10’s estimation. In other words, Dr. Zada paid approximately $58,100 more
  6 than the physical assets were worth.
  7         Because Perfect 10 photographed close to 1,000 models at a cost of
  8 approximately $9,000 per photoshoot, including model fee, photographer fee,
  9 location fee, hair and makeup, assistant fees, referral fees, travel fees, etc. and
 10 purchased third party film for more than $2.5 million, the cost of replicating Perfect
 11 10’s film library is at least $11.5 million.
 12         Giganews’s and Livewire’s Position
 13         Interrogatory No. 5 seeks facts surrounding current and past valuations of
 14 Perfect 10’s assets. A key element of Plaintiffs’ claim for constructive fraudulent
 15 transfer is whether Perfect 10 received reasonably equivalent value for the property
 16 it purportedly sold to Mr. Zada. To prove their claim, Plaintiffs require a complete
 17 identification of the assets Defendants transferred and the available information
 18 about their value in Defendants’ possession, including original purchase prices (not
 19 just Mr. Zada’s conjecture without investigation).
 20         Without complete, verified responses to interrogatory Nos. 3 and 4, any
 21 response to interrogatory No. 5 is necessarily incomplete. Defendants’ responses
 22 vaguely referenced some assets, for example “office furniture,” “bed sets,” and
 23 “used computers.” Because of Defendants’ defective responses, it is impossible to
 24 identify the specific asset or determine whether the valuations are accurate.
 25         A complete response to interrogatory No. 5 should identify each asset along
 26 with all reasonably available facts about its value and any past valuations.
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                             22       CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Defendants’ Position
  2         Plaintiffs are once again attempting to manufacture a dispute when there is
  3 none. Defendants believe that if the Court grants any meaningful portion of
  4 Plaintiff’s motion, Plaintiffs’ plan is to subsequently file a motion for sanctions
  5 claiming that Defendants failed to comply with the Court’s order, regardless of how
  6 complete the compliance actually was. Plaintiffs were enormously successful in the
  7 Related Case using exactly those tactics, obtaining a ruling that bankrupted a
  8 company that had been creating copyrighted works for eighteen years. Plaintiffs
  9 are trying to do the same thing here, by systematically mischaracterizing
 10 Defendant’s production. It is not correct that “Defendant’s responses vaguely
 11 reference some assets, for example, ‘office furniture,’ ‘bed sets,’ and ‘used
 12 computers.’” Defendants’ discovery responses specifically listed the items of
 13 personal property and stated how much had been paid for them. They also made
 14 estimates based on a commonsensical lay knowledge of the current value of such
 15 items. No other information regarding the items’ value is known or available to
 16 Defendants. Moreover, at his deposition, Dr. Zada was repeatedly questioned about
 17 these assets. He asserted they were “three bed sets purchased in 2000 for around
 18 2,000 each, a desk purchased in 2000 for around 10,000, a couch purchased in 2000
 19 for around 8,000, a scanner purchased in 2004 for around 8,000… Some small
 20 computers that were purchased - - I don’t know when exactly, but they were not
 21 new, somewhere I’m saying between 2006 and 2010. One larger computer that was
 22 purchased I think for around seven thousand, and I don’t remember exactly the day.
 23 It was somewhere between 2006 or 2009 or ’10, and did I mention the scanner.
 24 2004. And then some --- a couple of small printers, some pens and paper, you
 25 know, that kind of stuff. There was not really much there.” Zada Decl. ¶ 8, Ex. 3.
 26 Dr. Zada estimated the value of the items to be around $11,900 until the receiver
 27 recently refused to take the scanner for free (Zada Decl.¶ 4, Ex. 2), indicating that it
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          23          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 was actually worth nothing. What more can he do? He doesn’t have the receipts
  2 for the items from 2000 nor does he even know if Perfect 10 owned them.
  3         However, Melanie Poblete, who was familiar with the items, has testified that
  4 she thinks one would have to pay to have someone take them away – in other
  5 words, they were worth nothing. Zada Decl. ¶ 8, Ex. 3. She appears to be correct
  6 because Dr. Zada offered the scanner to the receiver on August 10, 2018 for
  7 nothing and the receiver turned that offer down. Zada Decl. ¶ 4, Ex. 2. The simple
  8 fact is that Plaintiffs made an outrageous and unsupported allegation that the
  9 physical assets were worth more than $70,000, and now they are stuck with the fact
 10 that they were worth at most $11,900. Dr. Zada has answered the interrogatory to
 11 the best of his ability and there is nothing more to add.
 12               3.     Interrogatory Nos. 6 & 7
 13         Interrogatory No. 6
 14         Identify all transfers of assets (including money) between Perfect 10 and
 15 Norman Zada, including the date of transfer and the nature and amount of any
 16 consideration in exchange for the transfer.
 17         Perfect 10’s Response to Interrogatory No. 6
 18         Perfect 10 objects to this interrogatory on the grounds that it is burdensome,
 19 oppressive, compound and overbroad. Perfect 10 further objects to this
 20 interrogatory on the grounds that it seeks information not relevant to the subject
 21 matter of the action, and not reasonably calculated to lead to the discovery of
 22 admissible evidence. Perfect 10 also objects to this interrogatory because it requires
 23 Perfect 10 to create a document not in its possession. Finally, Perfect 10 objects to
 24 this interrogatory as the underlying documents are just as available to Plaintiffs as
 25 they are to Perfect 10.
 26         Subject to the above specific objections and Perfect 10’s general objections,
 27 Perfect 10 responds as follows: Perfect 10 has already described the physical
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          24         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 transfers which occurred in March-April of 2015. Based on Perfect 10’s
  2 calculations, Dr. Zada paid approximately $58,000 more for the Perfect 10 physical
  3 assets than they were worth. Dr. Zada did not transfer to himself Perfect 10’s
  4 copyrights and trademarks, which Perfect 10 estimates would cost at least $11.5
  5 million to recreate. With respect to most of the monetary transfers, Perfect 10 refers
  6 Plaintiffs to Perfect 10’s financial statements, which are in their possession. Perfect
  7 10 will provide Plaintiffs with its 2015 and 2016 tax returns, and any bank of
  8 America statements it does not already have through April 2018. [Those financial
  9 statements] show that as of March 31, 2014, Dr. Zada had transferred at least a net
 10 $51 million from his bank accounts to Perfect 10’s bank accounts. Perfect 10 will
 11 also provide Plaintiffs with demand notes and documents acknowledging Perfect
 12 10’s repayments of some of Dr. Zada’s loans.
 13         With respect to the monetary transfers that took place during the pendency of
 14 the related case, Plaintiffs are already in possession of the financial statements and
 15 bank records which show all monetary transfers between Perfect 10 and Dr. Zada.
 16 When Dr. Zada transferred money to Perfect 10, he was under the impression that
 17 he was lending Perfect 10 that money, which was his to remove at any time at his
 18 discretion. When Perfect 10 transferred money to Dr. Zada, Dr. Zada believed that
 19 money was to pay off some of the debt it owed him. If the money is categorized as
 20 an investment rather than a loan, then the transfers from Perfect 10 to Dr. Zada
 21 could also be considered a legitimate receipt of any profits made by Perfect 10.
 22 Moreover, the transferred money was also being used to compensate Dr. Zada for
 23 his efforts in running and managing Perfect 10 and for his efforts in bringing in
 24 revenue via legal settlements. Those efforts included doing a substantial part of
 25 Perfect 10’s legal work to minimize its overall legal expenditures. The spreadsheet
 26 shows that since the pendency of the case, Perfect 10 transferred approximately a
 27 net $220,000 to Dr. Zada, not $1,750,000 as Plaintiffs claim; that Perfect 10
 28
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      MOTION TO COMPEL                          25         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 received approximately $5,389,950 in settlements, and that transfers were made to
  2 Dr. Zada when the Perfect 10 bank account balance was much larger than normal
  3 due to those recent settlements. Finally, the transfers were made to Dr. Zada when
  4 Perfect 10 had an abnormally high balance while Dr. Zada typically had less than
  5 $100,000 in his personal bank account.
  6         Other than these transfers, Dr. Zada is not aware of any other transfers that
  7 were made after January 1, 2011.
  8         Zada’s Response to Interrogatory No. 6
  9         Dr. Zada objects to this interrogatory on the grounds that it is burdensome,
 10 oppressive, compound and overbroad. Dr. Zada further objects to this interrogatory
 11 on the grounds that it seeks information not relevant to the subject matter of the
 12 action, and not reasonably calculated to lead to the discovery of admissible
 13 evidence. Dr. Zada also objects to this interrogatory because it requires Perfect 10
 14 to create a document not in its possession. Finally, Dr. Zada objects to this
 15 interrogatory as the underlying documents are just as available to Plaintiffs as they
 16 are to him.
 17         Subject to the above specific objections and Dr. Zada’s general objections,
 18 Dr. Zada responds as follows: [Dr. Zada and] Perfect 10 [have] already described
 19 the physical transfers which occurred in March-April of 2015. Based on Perfect
 20 10’s calculations, Dr. Zada paid approximately $58,000 more for the Perfect 10
 21 physical assets than they were worth. Dr. Zada did not transfer to himself Perfect
 22 10’s copyrights and trademarks, which Perfect 10 estimates would cost at least
 23 $11.5 million to recreate. With respect to most of the monetary transfers, Dr. Zada
 24 refers Plaintiffs to Perfect 10’s financial statements, which are in their possession.
 25 Perfect 10 will provide Plaintiffs with its 2015 and 2016 tax returns, and any bank
 26 of America statements it does not already have through April 2018[, along with
 27 cancelled checks that it has not already produced that it can locate upon a
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          26          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 reasonable search. The financial statements that have already been produced,]
  2 show that as of March 31, 2014, Dr. Zada had transferred at least a net $51 million
  3 from his bank accounts to Perfect 10’s bank accounts. [Dr. Zada and] Perfect 10
  4 will also provide Plaintiffs with demand notes and documents acknowledging
  5 Perfect 10’s repayments of some of Dr. Zada’s loans.
  6         With respect to the monetary transfers that took place during the pendency of
  7 the related case, Plaintiffs are already in possession of the financial statements and
  8 bank records which show all monetary transfers between Perfect 10 and Dr. Zada.
  9 When Dr. Zada transferred money to Perfect 10, he was under the impression that
 10 he was lending Perfect 10 that money, which was his to remove at any time at his
 11 discretion. When Perfect 10 transferred money to Dr. Zada, Dr. Zada believed that
 12 money was to pay off some of the debt it owed him. If the money is categorized as
 13 an investment rather than a loan, then the transfers from Perfect 10 to Dr. Zada
 14 could also be considered a legitimate receipt of any profits made by Perfect 10.
 15 Moreover, the transferred money was also being used to compensate Dr. Zada for
 16 his efforts in running and managing Perfect 10 and for his efforts in bringing in
 17 revenue via legal settlements. Those efforts included doing a substantial part of
 18 Perfect 10’s legal work to minimize its overall legal expenditures. The spreadsheet
 19 shows that since the pendency of the case, Perfect 10 transferred approximately a
 20 net $220,000 to Dr. Zada, not $1,750,000 as Plaintiffs claim; that Perfect 10
 21 received approximately $5,389,950 in settlements, and that transfers were made to
 22 Dr. Zada when the Perfect 10 bank account balance was much larger than normal
 23 due to those recent settlements. Finally, the transfers were made to Dr. Zada when
 24 Perfect 10 had an abnormally high balance while Dr. Zada typically had less than
 25 $100,000 in his personal bank account.
 26         Other than these transfers, Dr. Zada is not aware of any other transfers that
 27 were made after January 1, 2011.
 28
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      MOTION TO COMPEL                          27         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Interrogatory No. 7
  2         For each transfer that Interrogatory No. 6 calls to be identified, identify all
  3 facts concerning the value of the exchanged assets and consideration.
  4         Perfect 10’s Response to Interrogatory No. 7
  5         Perfect 10 objects to this interrogatory on the grounds that it is burdensome,
  6 oppressive and overbroad.
  7         Subject to the above specific objections and Perfect 10's general objections,
  8 Perfect 10 responds as follows: Perfect 10 incorporates here its response to
  9 Interrogatory No. 6, which Perfect 10 believes suitably answers this interrogatory.
 10         Zada’s Response to Interrogatory No. 7
 11         Dr. Zada objects to this interrogatory on the grounds that it is burdensome,
 12 oppressive and overbroad.
 13         Subject to the above specific objections and Dr. Zada’s general objections,
 14 Dr. Zada responds as follows: [Dr. Zada] incorporates here [his] response to
 15 Interrogatory No. 6, which [he] believes suitably answers this interrogatory.
 16         Giganews’s and Livewire’s Position
 17         Interrogatories 6 and 7 asked Defendants to identify transfers of assets
 18 between Perfect 10 and Mr. Zada, the value of each asset involved, and any
 19 consideration Perfect 10 received in exchange. At the parties’ conference,
 20 Defendants’ counsel stated that Mr. Zada planned to produce a spreadsheet that
 21 would provide the requested information. Instead, Defendants produced a
 22 spreadsheet showing transfers of money (not assets) between Perfect 10 and Mr.
 23 Zada. Gregorian Decl. ¶ 7, Ex. E at 2 & Ex. F. It contains no information
 24 regarding consideration or asset values, and it contains at least one inconsistency on
 25 its face. Gregorian Decl. ¶¶ 7–9, Exs. F, G. Furthermore, despite Plaintiffs’
 26 request, Defendants never provided a verified response stating that their spreadsheet
 27 purports to reflect all responsive transfers of which they are aware.
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                           28          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         The Court should compel complete and verified answers to these
  2 interrogatories that identify each transfer individually, describe the nature and
  3 amount of any consideration in exchange, and describe the facts concerning the
  4 value of the exchanged asset.
  5         Defendants’ responses also commit to producing “demand notes and
  6 documents acknowledging Perfect 10’s repayments of some of Dr. Zada’s loans.”
  7 (These documents are also responsive to RFP Nos. 7, 18, 22, 41 and 42, among
  8 others.) Since approximately 2009, Mr. Zada has had an equity investment in
  9 Perfect 10, and Perfect 10’s financial statements and tax filings consistently
 10 characterized it as such. Once Plaintiffs filed this action, however, Mr. Zada sought
 11 to re-characterize his investment as a “loan.” He produced non-native versions of
 12 purported “demand” and “repayment” notes purporting to show loans to Perfect 10,
 13 including in the amounts of his fraudulent transfers, with no information about who
 14 authored the notes or when. At deposition, he claimed that he did not know that
 15 information. Gregorian Decl. Ex. K (“Zada Depo”) at 162:23–164:9. This raises a
 16 serious question as to whether these are doctored or back-dated documents
 17 Defendants created for the purpose of defending this litigation. Plaintiffs requested
 18 that Defendants produce native versions of the demand and repayment note files;
 19 Defendants have not done so. Gregorian Decl. ¶ 13, Zada Depo at 167:3–15.
 20 Accordingly, Plaintiffs request the Court order Defendants to produce these
 21 documents in native format with metadata intact, and provide any other available
 22 information regarding the author of each document, its date of creation, the identity
 23 of any other individuals that edited it, and the date it was last edited.
 24         Defendants’ Position
 25         Plaintiffs have failed to include either Defendants first or second amended
 26 responses to Interrogatory Number 6. Mickelson Decl. ¶ 3, 4, Ex. 1-5. This request
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                           29          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 should accordingly be denied on the ground that it is moot and unrelated to the
  2 actual active responses.
  3         Plaintiffs are simply incorrect about the discovery responses. Those make
  4 clear that the only physical assets owned by Perfect 10 during the relevant period
  5 were those transferred to Dr. Zada in 2014; those specific physical items were
  6 exhaustively and fully detailed in previous discovery responses and in Dr. Zada’s
  7 deposition. The receiver has recently admitted that the scanner Dr. Zada paid
  8 Perfect 10 for in 2014 was worth next to nothing as receiver was asked to pick it up
  9 for free on August 10, 2018 and chose not to take it. Zada Decl. ¶ 4, Ex. 2.
 10 Defendants also produced a spreadsheet showing transfers of funds between Perfect
 11 10 and Dr. Zada; those transfers are substantiated by the produced bank
 12 statements.8 Other than the transfers of the monies and the physical items, no other
 13 assets have been transferred between Perfect 10 and Dr. Zada from 2013 on.
 14         Plaintiffs never mentioned the issue about native versions of the demand
 15 notes in any meet and confer session. This is one of the reasons why parties are
 16 supposed to properly meet and confer and try to resolve issues before making
 17 motions which unnecessarily waste the Court’s time. Plaintiffs are again making
 18 allegations that are flagrantly false, in an effort to poison the Court against Dr.
 19 Zada. For example, they contend that “Once Plaintiffs filed this action, however,
 20 Mr. Zada sought to re-characterize his investment as a “loan.” Dr. Zada hasn’t
 21 sought to re-characterize anything. In fact, when Plaintiffs asked Perfect 10’s
 22 accountant, Bruce Hersh in deposition, Q. “Did he [Zada] ever request that you
 23 recharacterize the equity investment as a loan to Perfect 10?” Mr. Hersh replied,
 24 “He did not.” When Mr. Hersh was then asked, Q. “Okay, Since this lawsuit
 25 began, has he instructed you to recharacterize his investment as a loan?” Mr. Hersh
 26 responded, “No.” Mickelson Decl. ¶ 5, Ex. 6.
 27
     Any mistakes on the spreadsheet were inadvertent and will be corrected by
      8

 28 Defendants.
    JOINT STIPULATION RE PLAINTIFFS’
    MOTION TO COMPEL                        30         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         The notes to which Plaintiffs refer, which they claim is evidence of some
  2 type of sinister act on the part of Dr. Zada, will not be used in this case for multiple
  3 reasons, including because they aren’t signed. The “demand notes” simply
  4 correspond to transfers from Dr. Zada to Perfect 10 which appear on both Perfect
  5 10’s and Dr. Zada’s bank statements. Dr. Zada simply found them in his computer
  6 and produced them per his discovery obligations. Zada Decl. ¶ 7.
  7         The simple fact is that there is no dispute that Dr. Zada lent Perfect 10
  8 approximately $53 million, and that until approximately 2009, those monies were
  9 classified by Perfect 10’s accountant, Bruce Hersh, as loans. However, in 2009,
 10 Mr. Hersh, on his own, with no consultation with Dr. Zada, reclassified them as
 11 capital investments. It is Defendants position that regardless of whether the monies
 12 invested by Dr. Zada were classified as loans or investments, he was entitled to pay
 13 himself a small portion of the monies he had loaned or invested, without concern
 14 about being accused of fraud, particularly when Plaintiffs were not creditors at that
 15 time, and particularly when he never expected them to become creditors.
 16                4.    Interrogatory No. 8
 17         Interrogatory No. 8
 18         Identify all accounts (including but not limited to bank accounts, credit card
 19 accounts, brokerage accounts, investment account, retirement accounts, pension
 20 accounts, lease accounts, internet or other online service account, utility accounts,
 21 alarm or security service accounts, cable or satellite television accounts, domain
 22 name accounts, mortgages, lines of credit, real property, physical assets, cash
 23 assets, crypto currency or crypto assets) associated with Perfect 10 or Norman
 24 Zada.
 25         Perfect 10’s Response to Interrogatory No. 8
 26         Perfect 10 objects to this interrogatory on the grounds that it is burdensome,
 27 oppressive, compound and overbroad. Perfect 10 further objects to this
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          31          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 interrogatory on the grounds that it is vague and ambiguous. Perfect 10 objects to
  2 this interrogatory that it is indefinite as to time and unnecessarily burdensome for
  3 that reason alone. Perfect 10 further objects to this interrogatory because it invades
  4 the privacy of Dr. Zada. Perfect 10 further objects to this interrogatory on the
  5 grounds that it seeks information not relevant to the subject matter of the action,
  6 and not reasonably calculated to lead to the discovery of admissible evidence. The
  7 information sought is also not discoverable pursuant to California Civil Code
  8 section 3295.
  9         Subject to the above specific objections and Perfect 10's general objections,
 10 Perfect 10 responds as follows:
 11         The interrogatory is confusing. To the extent that Perfect 10 understands it,
 12 Perfect 10 has no brokerage accounts, investment accounts, or lines of credit, or
 13 crypto accounts nor has it ever had such accounts. The statements for the various
 14 bank accounts that it has had have been produced to the extent that they could be
 15 located. Any additional statements that have not been produced that can be located
 16 upon a reasonable search will be produced. Perfect 10 currently has a single bank
 17 account. Dr. Zada deposits checks he received from epoch into that bank account,
 18 and then plaintiffs or the receiver removes those funds. Perfect 10's trademarks and
 19 copyrights and some tangible assets including film and DVDs, which would cost at
 20 least $11.5 million to recreate, are in the custody of the receiver. The receiver did
 21 not want a number of Perfect 10's pieces of office furniture. So Perfect 10 still has
 22 those. Whether or not any cable or security accounts at 11803 Norfield Court are in
 23 the name of Perfect 10 or Dr. Zada is irrelevant, as Dr. Zada is paying for those
 24 accounts. Perfect 10's employees have in the past had retirement accounts.
 25         Dr. Zada will provide copies of his 2014, 2015, and 2016 tax returns. He has
 26 already produced the first page of his 2007, 2008, 2009, 2010, 2011, 2012, and
 27 2013 tax returns. Dr. Zada will also provide his Amex statements from January
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          32         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 2014 through January of 1017, and certain other credit card statements in response
  2 to RFP 6. Dr. Zada will provide information regarding his assets sufficient to
  3 establish that at the time the $5.63 million fee award was entered, he only had
  4 approximately $4 million in cash and securities outside of his home and retirement
  5 account, i.e., not enough to pay the $5.63 million award in cash, which is why he
  6 was forced to offer to pay part via a first trust deed on his home. Dr. Zada will not
  7 provide any documents or information regarding his current assets.
  8         Zada’s Response to Interrogatory No. 8
  9         Dr. Zada objects to this interrogatory on the grounds that it is burdensome,
 10 oppressive, compound and overbroad. Dr. Zada further objects to this interrogatory
 11 on the grounds that it is vague and ambiguous. Dr. Zada objects to this
 12 interrogatory that it is indefinite as to time and unnecessarily burdensome for that
 13 reason alone. Dr. Zada further objects to this interrogatory because it invades the
 14 privacy of Dr. Zada. Dr. Zada further objects to this interrogatory on the grounds
 15 that it seeks information not relevant to the subject matter of the action, and not
 16 reasonably calculated to lead to the discovery of admissible evidence. The
 17 information sought is also not discoverable pursuant to California Civil Code
 18 section 3295.
 19         Subject to the above specific objections and Dr. Zada’s general objections,
 20 Dr. Zada responds as follows:
 21         The interrogatory is confusing. To the extent that [Dr. Zada] understands it,
 22 Perfect 10 has no brokerage accounts, investment accounts, or lines of credit, or
 23 crypto accounts nor has it ever had such accounts. The statements for the various
 24 bank accounts that it has had have been produced to the extent that they could be
 25 located. Any additional statements that have not been produced that can be located
 26 upon a reasonable search will be produced. Perfect 10 currently has a single bank
 27 account. Dr. Zada deposits checks he received from epoch into that bank account,
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          33         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 and then plaintiffs or the receiver removes those funds. Perfect 10's trademarks and
  2 copyrights and some tangible assets including film and DVDs, which would cost at
  3 least $11.5 million to recreate, are in the custody of the receiver. The receiver did
  4 not want a number of Perfect 10's pieces of office furniture. So Perfect 10 still has
  5 those. Whether or not any cable or security accounts at 11803 Norfield Court are in
  6 the name of Perfect 10 or Dr. Zada is irrelevant, as Dr. Zada is paying for those
  7 accounts. Perfect 10's employees have in the past had retirement accounts.
  8         Dr. Zada will provide copies of his 2014, 2015, and 2016 tax returns. He has
  9 already produced the first page of his 2007, 2008, 2009, 2010, 2011, 2012, and
 10 2013 tax returns. Dr. Zada will also provide his Amex statements from January
 11 2014 through January of 1017, and certain other credit card statements in response
 12 to RFP 6. Dr. Zada will provide information regarding his assets sufficient to
 13 establish that at the time the $5.63 million fee award was entered, he only had
 14 approximately $4 million in cash and securities outside of his home and retirement
 15 account, i.e., not enough to pay the $5.63 million award in cash, which is why he
 16 was forced to offer to pay part via a first trust deed on his home. Dr. Zada will not
 17 provide any documents or information regarding his current assets.
 18         Giganews’s and Livewire’s Position
 19         This interrogatory asks Defendants to identify—by username, associated
 20 payment account, and account holder name—all accounts Perfect 10 and Mr. Zada
 21 have controlled. The locations and identities of Defendants’ accounts are relevant
 22 to trace funds flowing between them and to establish a complete picture of
 23 Defendants’ assets and liabilities. Defendants refer to “a single bank account” of
 24 Perfect 10 and incompletely identify a handful of others in general terms (e.g.,
 25 “retirement accounts,” “home” account, “retirement account”) without providing
 26 the specific identifying information Plaintiffs requested. They also rely on cherry-
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          34         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 picked documents that bear no Bates number or other reasonable means of
  2 document control.
  3         Defendants’ responses are inadequate for the reasons Plaintiffs already
  4 discussed above. Defendants do not attest that they have identified all responsive
  5 accounts instead of a partial selection. The reference to documents does not satisfy
  6 Rule 33(d) because the responses do not identify documents with specificity, and
  7 Plaintiffs cannot derive a complete response from the responses. Defendants also
  8 attempt to rely on a privacy objection to information regarding Zada’s accounts that
  9 the Court has overruled and the protective order has rendered moot. Although the
 10 Court ordered Defendants to produce documents showing their liabilities, Plaintiffs
 11 have no way to know whether Defendants have disclosed and produced from all of
 12 their associated accounts without this identification.
 13         The Court should grant Plaintiffs’ motion and compel complete responses,
 14 including a verification that they have identified all responsive accounts and that no
 15 other responsive information exists.
 16         Defendants’ Position
 17         Once again, Plaintiffs have failed to include Defendants amended discovery
 18 responses, and ignored Dr. Zada’s extensive production of virtually all of his
 19 personal financial documents from 2013 through 2018, which they received on
 20 August 1, 2018, a week before filing their joint stip. When Plaintiffs finally
 21 identified some documents they felt were missing on August 15, 2018, Defendants
 22 immediately produced those documents in response. Zada Decl. ¶ 2, Ex. 1. As
 23 discussed above, Plaintiffs complaints here are moot, as all available asset
 24 information for both Perfect 10 and Dr. Zada from 2013 until the present have been
 25 produced. The only documents left to produce are a few credit card statements for
 26 inactive cancelled cards that Dr. Zada has ordered. They will be produced when
 27 they are received Plaintiffs are again asking for an accounting of every single cent
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                         35            CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 of Perfect 10 and Dr. Zada money in all of their accounts from 2013 to the present.
  2 This was a monumental invasion of Dr. Zada’s privacy for mostly irrelevant
  3 reasons. Nonetheless, in an attempt to avoid further motion practice, Dr. Zada has
  4 offered a complete set of all his accounts from 2013 to the present which shows
  5 exactly how much money he has over that period up and until today (with the
  6 exception of irrelevant and trade secret information regarding stock purchases, as
  7 discussed above.) And, again, because Plaintiffs have sought all such information,
  8 they cannot now complain that the production of the relevant documents which
  9 categorize and list the information sought is somehow too difficult to review or
 10 analyze by themselves. It is important for the Court to understand that all interest
 11 bearing and dividend bearing accounts owned by Dr. Zada will appear on his tax
 12 returns. Those have been produced. Zada Decl. ¶ 2, Ex. 1.
 13                5.    Interrogatory No. 9
 14         Interrogatory No. 9
 15         Identify each Perfect 10 asset transferred to any Person from January 1, 2011
 16 to the present (including but not limited to bank accounts, credit card accounts,
 17 brokerage accounts, investment accounts, retirement accounts, pension accounts,
 18 lease accounts, internet or other online service accounts, utility accounts, alarm or
 19 security service accounts, cable or satellite television accounts, domain name
 20 accounts, mortgages, lines of credit, real property, physical assets, cash assets,
 21 crypto assets, or other assets owned or otherwise controlled by Perfect 10), and all
 22 facts concerning the value of each asset at the time of transfer.
 23         Perfect 10’s Response to Interrogatory No. 9
 24         Perfect 10 objects to this interrogatory on the grounds that it is burdensome,
 25 oppressive and overbroad. Perfect 10 further objects to this interrogatory on the
 26 grounds that it is vague and ambiguous as to the term “Perfect 10 asset.” Perfect 10
 27 further objects to this interrogatory on the grounds that it seeks information not
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          36         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 relevant to the subject matter of the action, and not reasonably calculated to lead to
  2 the discovery of admissible evidence.
  3         Subject to the above specific objections and Perfect 10's general objections,
  4 Perfect 10 responds as follows:
  5         Perfect 10 is not aware of any transfers which are not reflected by Perfect
  6 10's bank statements and other financial records, which are already in possession of
  7 the Plaintiffs. In other words, there were no transfers of brokerage accounts,
  8 investment accounts, etc. To the extent that bank statements have not already been
  9 produced, they will be produced back to May of 2011, which is essentially when
 10 this case began and which is the earliest date of statements in Defendants' custody,
 11 possession or control. The only physical assets that were transferred in exchange for
 12 a payment of $70,000 in March of 2015, have already been discussed. The response
 13 to interrogatories three and four are incorporated herein.
 14         Zada’s Response to Interrogatory No. 9
 15         Dr. Zada objects to this interrogatory on the grounds that it is burdensome,
 16 oppressive and overbroad. Perfect 10 further objects to this interrogatory on the
 17 grounds that it is vague and ambiguous as to the term “Perfect 10 asset.” Dr. Zada
 18 further objects to this interrogatory on the grounds that it seeks information not
 19 relevant to the subject matter of the action, and not reasonably calculated to lead to
 20 the discovery of admissible evidence.
 21         Subject to the above specific objections and Dr. Zada’s general objections,
 22 Dr. Zada responds as follows:
 23         [Dr. Zada] is not aware of any transfers which are not reflected by Perfect
 24 10's bank statements and other financial records, which are already in possession of
 25 the Plaintiffs. In other words, there were no transfers of brokerage accounts,
 26 investment accounts, etc. To the extent that bank statements have not already been
 27 produced, they will be produced back to May of 2011, which is essentially when
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          37         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 this case began and which is the earliest date of statements in Defendants' custody,
  2 possession or control. The only physical assets that were transferred in exchange for
  3 a payment of $70,000 in March of 2015, have already been discussed. The response
  4 to interrogatories three and four are incorporated herein.
  5         Giganews’s and Livewire’s Position
  6         Interrogatory No. 9 asked Defendants to identify each asset Perfect 10
  7 transferred to any person since January 1, 2011. Plaintiffs agree to limit this
  8 request to January 1, 2013 to present, consistent with the Court’s Order. Specific
  9 information identifying Perfect 10’s transfers to others is relevant to identify
 10 additional fraudulent transfers and to analyze Perfect 10’s solvency, which is a
 11 crucial element of a constructive fraudulent transfer claim.
 12         Defendants claim that the bank and financial records already in Plaintiffs’
 13 possession reflect all transfers of funds, and they value the transferred physical
 14 assets at $70,000. If Defendants intended to rely on records, they needed to say so
 15 and identify specific records that supply a complete answer. They did not do so.
 16 Moreover, Mr. Zada’s answer refers to transfers of “accounts” rather than “assets,”
 17 suggesting that he arbitrarily limited his answer. The conference of counsel
 18 effectively confirmed this, as Defendants argued that they had answered this
 19 interrogatory by producing Mr. Zada’s spreadsheet of bank transfers, which omits
 20 asset transfers. The Court should compel a complete verified response that
 21 identifies all responsive transfers.
 22         Defendants’ Position
 23         The only transfers of any sort of assets from Perfect 10 to any person were
 24 monetary transfers, which are reflected in the bank statements, and the transfer of
 25 assets to Dr. Zada. The responses make this clear.
 26         The only easy way to identify all transfers to third parties, such as payments
 27 to employees and attorneys etc., is to provide copies of Perfect 10’s financial
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          38         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 statements, which go up through 2014, and to provide copies of Perfect 10’s bank
  2 statements, which go through 2018. Dr. Zada has done that, and also provided a
  3 spreadsheet that he created. Plaintiffs, who have produced no documents
  4 whatsoever, and pretty much stiffed Defendants on almost all of Defendants
  5 discovery requests, are now complaining that Dr. Zada did not include the furniture
  6 on his spreadsheet. This is ridiculous. Dr. Zada has in a separate interrogatory
  7 described all the physical assets that were transferred, what they cost originally to
  8 the best of his ability, and what he thought they were worth. The payments of
  9 $20,000 and $50,000 for the physical assets do appear on Dr. Zada’s spreadsheet.
 10 Zada Decl. ¶ 8, Ex. 3.
 11               6.     Interrogatory No. 10
 12         Interrogatory No. 10
 13         Identify all facts concerning the statement(s) of Perfect 10 or Zada referred to
 14 in paragraph 28 of the FAC, including the statements that “Dr. Zada and Perfect 10
 15 did not have the funds to pay the full amount [of the judgment] in case,” and/or
 16 “Dr. Zada and Perfect 10 did the best they could given the limited amount of cash
 17 they had available.”
 18         Perfect 10’s Response to Interrogatory No. 10
 19         Perfect 10 objects to this interrogatory on the grounds that it is burdensome,
 20 oppressive and overbroad. Perfect 10 further objects to this interrogatory on the
 21 grounds that it seeks information not relevant to the subject matter of the action,
 22 and not reasonably calculated to lead to the discovery of admissible evidence. Dr.
 23 Zada further objects to this interrogatory on the ground that it invades his privacy
 24 and is prohibited by California Civil Code section 3295.
 25         Subject to the above specific objections and Perfect 10's general objections,
 26 Perfect 10 responds as follows:
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          39         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Dr. Zada will produce documents sufficient to show that he did not have
  2 sufficient cash to pay $5.63 million when the award was entered in March of 2015.
  3 Those documents will include his personal 2014, 2015, and 2016 tax returns. His
  4 2014 tax return lists total taxable interest of $1,534 and dividends of $4,778, from
  5 four accounts: Bank of America, Chase, Wells Fargo Advisors, and Morgan
  6 Stanley. Dr. Zada also had approximately $20,000 in a Putnam account. Dr. Zada
  7 will also provide copies of those accounts for the month of December, 2014.
  8 Together, those statements show that at the end of December 2014, Dr. Zada had
  9 approximately $1,507,000 at Chase, approximately $1,057,000 at Morgan Stanley,
 10 approximately $525,000 at Wells Fargo Advisors, and approximately 1,153,000 at
 11 bank of America, while Perfect 10 had approximately $263,734 at Bank of
 12 America. In other words, between Perfect 10 and Dr. Zada, they had about $4.5
 13 million in cash and cash equivalents, not enough to pay $5.891 million.
 14         Zada’s Response to Interrogatory No. 10
 15         Dr. Zada objects to this interrogatory on the grounds that it is burdensome,
 16 oppressive and overbroad. Dr. Zada further objects to this interrogatory on the
 17 grounds that it seeks information not relevant to the subject matter of the action,
 18 and not reasonably calculated to lead to the discovery of admissible evidence. Dr.
 19 Zada further objects to this interrogatory on the ground that it invades his privacy
 20 and is prohibited by California Civil Code section 3295.
 21         Subject to the above specific objections and Dr. Zada’s general objections,
 22 Dr. Zada responds as follows:
 23         Dr. Zada will produce documents sufficient to show that he did not have
 24 sufficient cash to pay $5.63 million when the award was entered in March of 2015.
 25 Those documents will include his personal 2014, 2015, and 2016 tax returns. His
 26 2014 tax return lists total taxable interest of $1,534 and dividends of $4,778, from
 27 four accounts: Bank of America, Chase, Wells Fargo Advisors, and Morgan
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          40         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 Stanley. Dr. Zada also had approximately $20,000 in a Putnam account. Dr. Zada
  2 will also provide copies of those accounts for the month of December, 2014.
  3 Together, those statements show that at the end of December 2014, Dr. Zada had
  4 approximately $1,507,000 at Chase, approximately $1,057,000 at Morgan Stanley,
  5 approximately $525,000 at Wells Fargo Advisors, and approximately 1,153,000 at
  6 bank of America, while Perfect 10 had approximately $263,734 at Bank of
  7 America. In other words, between Perfect 10 and Dr. Zada, they had about $4.5
  8 million in cash and cash equivalents, not enough to pay $5.891 million.
  9         Giganews’s and Livewire’s Position
 10         This interrogatory asked for facts concerning Defendants’ contention that
 11 they did not possess sufficient funds to pay the judgment against Perfect 10. See
 12 Dkt. 12 at 9. Zada claims that his settlement offer of $2 million plus additional
 13 contingent rights proves that he did not take Perfect 10’s cash to hinder creditors.9
 14 As part of his explanation for why this partial payment proves his good faith, he has
 15 represented to the Court that he lacks the ability to pay the full amount of the
 16 judgment. See Dkt. 19 at 6; Dkt. 37 at 1. Plaintiffs are entitled to discovery to test
 17 the truth or falsity of this claim and to show that Zada actually had sufficient cash
 18 and assets to pay the judgment in full. Again, Zada proposes to cherry-pick some
 19 records to show a partial picture that favors him. He still has made no
 20 representation to the Court that these records disclose all of his cash and assets.
 21         Defendants also declined to provide this information on the grounds that it is
 22 purportedly “personal” to Mr. Zada, the same objection that the Court has already
 23 rejected. The Court should compel amended and verified responses that set forth
 24 all facts related to Defendants’ representations about their ability to pay the
 25 judgment.
 26
     It does not: by transferring Perfect 10’s cash and assets to himself, Zada could
      9

 27 offer to pay less than the full judgment and impose additional settlement conditions.
    If it were not for Zada’s fraud, Plaintiffs could have simply enforced the judgment.
 28
    JOINT STIPULATION RE PLAINTIFFS’
    MOTION TO COMPEL                             41        CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Defendants’ Position
  2         Virtually all documents showing Dr. Zada’s assets from 2013 to 2018 --
  3 which of course includes his assets during the period in which the offer to settle
  4 was made – were produced by August 1. Any missing gaps have been filled since.
  5 Zada Decl. ¶ 2, Ex. 1.
  6         Plaintiffs know this. Why, then, do they once again make a false claim, that
  7 “Zada proposes to cherry-pick some records to show a partial picture that favors
  8 him.” What documents have been cherry-picked? Dr. Zada has provided all of his
  9 brokerage and bank account statements from 2013 to 2018 and his tax returns from
 10 2013 to 2016, the ones he has from 2013 onward. Zada Decl. ¶ 2, Ex. 1. Any
 11 substantial account that Dr. Zada was “hiding” would show up in those tax returns.
 12 There are none. The money that was transferred from Perfect 10 to Dr. Zada’s bank
 13 of America account appears in Dr. Zada’s bank of America account. Between
 14 Perfect 10 and Dr. Zada, they had about $4.5 million in cash outside of Dr. Zada’s
 15 retirement account, which had about $1.5 million – not enough to spare to pay the
 16 legal bills for the appeal or live. See Mickelson Decl. ¶ 4, Ex. 2 [Dr. Zada’s
 17 Amended response to Interrogatory No. 10.] Particularly incredible is Plaintiffs’
 18 claim in footnote 3 that, “If it were not for Zada’s fraud, Plaintiffs could have
 19 simply enforced the judgment.” If Dr. Zada had not removed any of the $1.75
 20 million, Perfect 10 would have had less than $2 million in cash when the fee award
 21 was entered, not more than $5.63 million as Plaintiffs claim.
 22
 23
 24
 25
 26
 27 ///
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          42         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         B.     Giganews’s Second10Set of Requests for Production to Perfect 10
                   and Norman Zada.
  2
                   1.     Responses relying on a privacy objection (RFP Nos. 13, 15–
  3                       18, 20, 22, 24–27, 29–34, 38, 39, 41, 42, 44, 45, 47, 49–53, 55,
                          57–59, 60–65, 67–70, and 74)
  4
            Request for Production No. 13
  5
            All documents regarding direct or indirect transfers of funds or other assets
  6
      between Norman Zada or Perfect 10, on the one hand, and Bruce Hersh, Eric
  7
      Benink, David Schultz, Lynell Davis, Natalie Locke, Melanie Poblete, Snow
  8
      McCall, Gwendalyn Augustine a.k.a. Wendy Augustine, Szabolcs Apai, CW
  9
      International LLC, or Sean Chumura, on the other, since January 1, 2011.
 10
            Response to Request for Production No. 13
 11
            Perfect 10 incorporates the General Objections as set forth above and notes
 12
      that it has already produced most if not all of the discovery requested (see
 13
      paragraph 18) herein.
 14
            Perfect 10 objects to this request on the grounds that it is compound, and also
 15
      vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 16
      burdensome, oppressive and vastly overbroad. Perfect 10 further objects to this
 17
      request as it seeks the disclosure of information protected from discovery by the
 18
      attorney-client privilege and the attorney work product doctrine. Perfect 10 further
 19
      objects to this request on the grounds that it seeks information not relevant to the
 20
      subject matter of the action, and not reasonably calculated to lead to the discovery
 21
      of admissible evidence. Perfect 10 objects to this request on the grounds that it
 22
      violates Dr. Zada’s right of privacy and is prohibited by California Civil Code
 23
      section 3295.
 24
            Perfect 10 will produce responsive non-privileged documents that it can
 25
      locate upon a reasonable search, that have not already been produced. Dr. Zada will
 26
     Perfect 10 and Zada served substantively identical responses. Gregorian Decl.
      10

 27 Exs. M and N. Plaintiffs reproduce only Perfect 10’s responses here to avoid
    duplication and waste of space.
 28
    JOINT STIPULATION RE PLAINTIFFS’
    MOTION TO COMPEL                        43          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 produce responsive non-privileged documents sufficient to identify such payments
  2 made directly by him, from January 1 2014, through March 30, 2015.
  3         Request for Production No. 15
  4         All documents concerning assets in which Norman Zada has had any actual
  5 or contingent legal, beneficial, or equitable interest at any time since January 1,
  6 2011.
  7         Response to Request for Production No. 15
  8         Perfect 10 incorporates the General Objections as set forth above and notes
  9 that it has already produced most if not all of the discovery requested (see
 10 paragraph 18) herein.
 11         Perfect 10 objects to this request on the grounds that it is compound, and also
 12 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 13 burdensome, oppressive and vastly overbroad. Perfect 10 further objects to this
 14 request as it seeks the disclosure of information protected from discovery by the
 15 attorney-client privilege and the attorney work product doctrine. Perfect 10 further
 16 objects to this request on the grounds that it seeks information not relevant to the
 17 subject matter of the action, and not reasonably calculated to lead to the discovery
 18 of admissible evidence. Perfect 10 objects to this request on the grounds that it
 19 violates Dr. Zada’s right of privacy and is prohibited by California Civil Code
 20 section 3295.
 21         Subject to the above specific objections and Perfect 10’s general objections,
 22 Perfect 10 responds as follows: Dr. Zada will produce his 2014, 2015, and 2016 tax
 23 returns, as well as statements from the brokerage and bank accounts listed in the
 24 2014 tax return, which show the approximate amount of cash and cash equivalents
 25 he had at that time. Plaintiffs are already in possession of the first pages of Dr.
 26 Zada’s 2007, 2008, 2009, 2010, 2011, 2012, and 2013 tax returns, which show that
 27 he had very little interest or dividend income over that period, along with a tax loss
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                           44         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 carry-forward of -$8.581 million. He will also produce copies of his personal bank
  2 statements from December of 2012 to March of 2015. He will supplement the
  3 production of credit card statements that have already been produced, through
  4 January of 2017. He will not produce other documents, which violate his privacy
  5 and are not relevant to this case.
  6         Request for Production No. 16
  7         All documents identifying all assets held in bailment by or for, held or
  8 maintained for, or owned or possessed by Norman Zada or on Norman Zada’s
  9 behalf at any time since January 1, 2011.
 10         Response to Request for Production No. 16
 11         Perfect 10 incorporates the General Objections as set forth above and notes
 12 that it has already produced most if not all of the discovery requested (see
 13 paragraph 18) herein.
 14         Perfect 10 objects to this request on the grounds that it is compound, and also
 15 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 16 burdensome, oppressive and vastly overbroad. Perfect 10 further objects to this
 17 request as it seeks the disclosure of information protected from discovery by the
 18 attorney-client privilege and the attorney work product doctrine. Perfect 10 further
 19 objects to this request on the grounds that it seeks information not relevant to the
 20 subject matter of the action, and not reasonably calculated to lead to the discovery
 21 of admissible evidence. Perfect 10 objects to this request on the grounds that it
 22 violates Dr. Zada’s right of privacy and is prohibited by California Civil Code
 23 section 3295.
 24         Subject to the above specific objections and Perfect 10’s general objections,
 25 Perfect 10 responds as follows: Dr. Zada will produce his 2014, 2015, and 2016 tax
 26 returns, as well as statements from the brokerage and bank accounts listed in the
 27 2014 tax return, which show the approximate amount of cash and cash equivalents
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          45         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 he had at that time. Plaintiffs are already in possession of the first pages of Dr.
  2 Zada’s 2007, 2008, 2009, 2010, 2011, 2012, and 2013 tax returns, which show that
  3 he had very little interest or dividend income over that period, along with a tax loss
  4 carry-forward of -$8.581 million. He will also produce copies of his personal bank
  5 statements from December of 2012 to March of 2015. He will supplement the
  6 production of credit card statements that have already been produced, through
  7 January of 2017. He will not produce other documents, which violate his privacy
  8 and are not relevant to this case.
  9         Request for Production No. 17
 10         All documents from January 1, 2011 to present concerning the direct or
 11 indirect transfer of legal title or possession of any asset from Perfect 10 or Norman
 12 Zada.
 13         Response to Request for Production No. 17
 14         Perfect 10 incorporates the General Objections as set forth above and notes
 15 that it has already produced most if not all of the discovery requested (see
 16 paragraph 18) herein.
 17         Perfect 10 objects to this request on the grounds that it is compound, as well
 18 as incomprehensible. Perfect 10 objects to this request on the grounds that it is
 19 burdensome, oppressive and vastly overbroad. Perfect 10 further objects to this
 20 request as it seeks the disclosure of information protected from discovery by the
 21 attorney-client privilege and the attorney work product doctrine. Perfect 10 further
 22 objects to this request on the grounds that it seeks information not relevant to the
 23 subject matter of the action, and not reasonably calculated to lead to the discovery
 24 of admissible evidence. Perfect 10 objects to this request on the grounds that it
 25 violates Dr. Zada’s right of privacy and is prohibited by California Civil Code
 26 section 3295.
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          46          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Subject to the above specific objections and Perfect 10’s general objections,
  2 Perfect 10 responds as follows: To the extent that Plaintiffs meant “indirect transfer
  3 of legal title or possession of any asset from Perfect 10 to Norman Zada,” Perfect
  4 10 has already produced documents sufficient to identify such transfers, which
  5 were, the 2009 Lexus, which was already owned by Dr. Zada, as well as some
  6 furniture, magazines, and computers.
  7         Request for Production No. 18
  8         Documents sufficient to identify all funds owned or possessed by Norman
  9 Zada or held on Norman Zada’s behalf at any time between January 1, 2011 and the
 10 present.
 11         Response to Request for Production No. 18
 12         Perfect 10 incorporates the General Objections as set forth above and notes
 13 that it has already produced most if not all of the discovery requested (see
 14 paragraph 18) herein.
 15         Perfect 10 objects to this request on the grounds that it is compound, and also
 16 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 17 burdensome, oppressive and vastly overbroad. Perfect 10 further objects to this
 18 request as it seeks the disclosure of information protected from discovery by the
 19 attorney-client privilege and the attorney work product doctrine. Perfect 10 further
 20 objects to this request on the grounds that it seeks information not relevant to the
 21 subject matter of the action, and not reasonably calculated to lead to the discovery
 22 of admissible evidence. Perfect 10 objects to this request on the grounds that it
 23 violates Dr. Zada’s right of privacy and is prohibited by California Civil Code
 24 section 3295.
 25         Subject to the above specific objections and Perfect 10’s general objections,
 26 Perfect 10 responds as follows: Dr. Zada will produce his 2014, 2015, and 2016 tax
 27 returns, as well as statements from the brokerage and bank accounts listed in the
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          47         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 2014 tax return, which show the approximate amount of cash and cash equivalents
  2 he had at that time. Plaintiffs are already in possession of the first pages of Dr.
  3 Zada’s 2007, 2008, 2009, 2010, 2011, 2012, and 2013 tax returns, which show that
  4 he had very little interest or dividend income over that period, along with a tax loss
  5 carry-forward of -$8.581 million. He will also produce copies of his personal bank
  6 statements from December of 2012 to March of 2015. He will supplement the
  7 production of credit card statements that have already been produced, through
  8 January of 2017. He will not produce other documents, which violate his privacy
  9 and are not relevant to this case.
 10         Request for Production No. 20
 11         All documents concerning accounts of, or for the benefit of, Norman Zada.
 12         Response to Request for Production No. 20
 13         Perfect 10 incorporates the General Objections as set forth above and notes
 14 that it has already produced most if not all of the discovery requested (see
 15 paragraph 18) herein.
 16         Perfect 10 objects to this request on the grounds that it is compound, and also
 17 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 18 burdensome, wildly oppressive and vastly overbroad, as it is indefinite as to time.
 19 Perfect 10 further objects to this request as it seeks the disclosure of information
 20 protected from discovery by the attorney-client privilege and the attorney work
 21 product doctrine. Perfect 10 further objects to this request on the grounds that it
 22 seeks information not relevant to the subject matter of the action, and not
 23 reasonably calculated to lead to the discovery of admissible evidence. Perfect 10
 24 objects to this request on the grounds that it violates Dr. Zada’s right of privacy and
 25 is prohibited by California Civil Code section 3295.
 26         Subject to the above specific objections and Perfect 10’s general objections,
 27 Perfect 10 responds as follows: Dr. Zada will produce his 2014, 2015, and 2016 tax
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          48          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 returns, as well as statements from the brokerage and bank accounts listed in the
  2 2014 tax return, which show the approximate amount of cash and cash equivalents
  3 he had at that time. Plaintiffs are already in possession of the first pages of Dr.
  4 Zada’s 2007, 2008, 2009, 2010, 2011, 2012, and 2013 tax returns, which show that
  5 he had very little interest or dividend income over that period, along with a tax loss
  6 carry-forward of -$8.581 million. He will also produce copies of his personal bank
  7 statements from December of 2012 to March of 2015. He will supplement the
  8 production of credit card statements that have already been produced, through
  9 January of 2017. He will not produce other documents, which violate his privacy
 10 and are not relevant to this case.
 11         Request for Production No. 22
 12         All documents concerning the finances and financial statements of any entity,
 13 business, investment, or activities in which Norman Zada has a direct or indirect,
 14 actual or contingent, legal, beneficial, or equitable interest (including but not
 15 limited to ledgers, accounting records or bookkeeping records, balance sheets,
 16 profit and loss statements, earnings statements, reconciliation reports and operating
 17 statements in any format, including computerized, digitized, other media, or paper).
 18         Response to Request for Production No. 22
 19         Perfect 10 incorporates the General Objections as set forth above and notes
 20 that it has already produced most if not all of the discovery requested (see
 21 paragraph 18) herein.
 22         Perfect 10 objects to this request on the grounds that it is compound, and also
 23 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 24 burdensome, oppressive and vastly overbroad. Perfect 10 further objects to this
 25 request as it seeks the disclosure of information protected from discovery by the
 26 attorney-client privilege and the attorney work product doctrine. Perfect 10 further
 27 objects to this request on the grounds that it seeks information not relevant to the
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          49          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 subject matter of the action, and not reasonably calculated to lead to the discovery
  2 of admissible evidence. Perfect 10 objects to this request on the grounds that it
  3 violates Dr. Zada’s right of privacy and is prohibited by California Civil Code
  4 section 3295.
  5         Subject to the above specific objections and Perfect 10’s general objections,
  6 Perfect 10 responds as follows: Dr. Zada will produce his 2014, 2015, and 2016 tax
  7 returns, as well as statements from the brokerage and bank accounts listed in the
  8 2014 tax return, which show the approximate amount of cash and cash equivalents
  9 he had at that time. Plaintiffs are already in possession of the first pages of Dr.
 10 Zada’s 2007, 2008, 2009, 2010, 2011, 2012, and 2013 tax returns, which show that
 11 he had very little interest or dividend income over that period, along with a tax loss
 12 carry-forward of -$8.581 million. He will also produce copies of his personal bank
 13 statements from December of 2012 to March of 2015. He will supplement the
 14 production of credit card statements that have already been produced, through
 15 January of 2017. He will not produce other documents, which violate his privacy
 16 and are not relevant to this case.
 17         Request for Production No. 24
 18         All documents concerning all contracts or agreements for the benefit of
 19 Norman Zada, in the possession of Norman Zada, or to which Norman Zada is or
 20 ever has been a party, a beneficiary, a successor in interest, or a predecessor in
 21 interest.
 22         Response to Request for Production No. 24
 23         Perfect 10 incorporates the General Objections as set forth above and notes
 24 that it has already produced most if not all of the discovery requested (see
 25 paragraph 18) herein.
 26         Perfect 10 objects to this request on the grounds that it is compound, and also
 27 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          50          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 burdensome, wildly oppressive and vastly overbroad as there is no time limitation.
  2 Perfect 10 further objects to this request as it seeks the disclosure of information
  3 protected from discovery by the attorney-client privilege and the attorney work
  4 product doctrine. Perfect 10 further objects to this request on the grounds that it
  5 seeks information not relevant to the subject matter of the action, and not
  6 reasonably calculated to lead to the discovery of admissible evidence. Perfect 10
  7 objects to this request on the grounds that it violates Dr. Zada’s right of privacy and
  8 is prohibited by California Civil Code section 3295.
  9         Subject to the above specific objections and Perfect 10’s general objections,
 10 Perfect 10 responds as follows: Perfect 10 has already produced contracts between
 11 Perfect 10 and Dr. Zada and relevant corporate minutes. It will not produce
 12 documents involving agreements between Dr. Zada and third parties that have no
 13 relevance to this case.
 14         Request for Production No. 25
 15         All documents concerning communications since January 1, 2011, between
 16 Norman Zada and Sean Chumura.
 17         Response to Request for Production No. 25
 18         Perfect 10 incorporates the General Objections as set forth above and notes
 19 that it has already produced most if not all of the discovery requested (see
 20 paragraph 18) herein.
 21         Perfect 10 objects to this request on the grounds that it is compound, and also
 22 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 23 burdensome, wildly oppressive and vastly overbroad. Perfect 10 further objects to
 24 this request as it seeks the disclosure of information protected from discovery by
 25 the attorney-client privilege and the attorney work product doctrine. Perfect 10
 26 further objects to this request on the grounds that it seeks information not relevant
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          51         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 to the subject matter of the action, and not reasonably calculated to lead to the
  2 discovery of admissible evidence.
  3         Perfect 10 objects to this request on the grounds that violates Dr. Zada’s
  4 privacy.
  5         Request for Production No. 26
  6         All documents concerning communications since January 1, 2011, between
  7 Norman Zada and Bruce Hersh.
  8         Response to Request for Production No. 26
  9         Perfect 10 incorporates the General Objections as set forth above and notes
 10 that it has already produced most if not all of the discovery requested (see
 11 paragraph 18) herein.
 12         Perfect 10 objects to this request on the grounds that it is compound, and also
 13 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 14 burdensome, wildly oppressive and vastly overbroad. Perfect 10 further objects to
 15 this request as it seeks the disclosure of information protected from discovery by
 16 the attorney-client privilege and the attorney work product doctrine. Perfect 10
 17 further objects to this request on the grounds that it seeks information not relevant
 18 to the subject matter of the action, and not reasonably calculated to lead to the
 19 discovery of admissible evidence. Perfect 10 objects to this request on the grounds
 20 that violates Dr. Zada’s privacy, as Bruce Hersh prepares Dr. Zada’s taxes.
 21         Request for Production No. 27
 22         All documents concerning communications since January 1, 2011, between
 23 Norman Zada and Victor Weber.
 24         Response to Request for Production No. 27
 25         Perfect 10 incorporates the General Objections as set forth above and notes
 26 that it has already produced most if not all of the discovery requested (see
 27 paragraph 18) herein.
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          52         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Perfect 10 objects to this request on the grounds that it is compound, and also
  2 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
  3 burdensome, wildly oppressive and vastly overbroad. Perfect 10 further objects to
  4 this request as it seeks the disclosure of information protected from discovery by
  5 the attorney-client privilege and the attorney work product doctrine. Perfect 10
  6 further objects to this request on the grounds that it seeks information not relevant
  7 to the subject matter of the action, and not reasonably calculated to lead to the
  8 discovery of admissible evidence. Perfect 10 objects to this request on the grounds
  9 that violates Dr. Zada’s privacy.
 10         Request for Production No. 29
 11         All documents concerning employment by Perfect 10 of any person since
 12 January 1, 2011.
 13         Response to Request for Production No. 29
 14         Perfect 10 incorporates the General Objections as set forth above and notes
 15 that it has already produced most if not all of the discovery requested (see
 16 paragraph 18) herein.
 17         Perfect 10 objects to this request on the grounds that it is compound, and also
 18 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 19 burdensome, wildly oppressive and vastly overbroad. Perfect 10 further objects to
 20 this request as it seeks the disclosure of information protected from discovery by
 21 the attorney-client privilege and the attorney work product doctrine. Perfect 10
 22 further objects to this request on the grounds that it seeks information not relevant
 23 to the subject matter of the action, and not reasonably calculated to lead to the
 24 discovery of admissible evidence.
 25         Request for Production No. 30
 26         All documents concerning employment by Norman Zada of any person since
 27 January 1, 2011.
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          53         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Response to Request for Production No. 30
  2         Perfect 10 incorporates the General Objections as set forth above and notes
  3 that it has already produced most if not all of the discovery requested (see
  4 paragraph 18) herein.
  5         Perfect 10 objects to this request on the grounds that it is compound, and also
  6 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
  7 burdensome, wildly oppressive and vastly overbroad. Perfect 10 further objects to
  8 this request as it seeks the disclosure of information protected from discovery by
  9 the attorney-client privilege and the attorney work product doctrine. Perfect 10
 10 further objects to this request on the grounds that it seeks information not relevant
 11 to the subject matter of the action, and not reasonably calculated to lead to the
 12 discovery of admissible evidence. Perfect 10 further objects to this request because
 13 it violates Dr. Zada’s privacy.
 14         Request for Production No. 31
 15         All documents concerning guarantees by, for, or arranged by Perfect 10 since
 16 January 1, 2011.
 17         Response to Request for Production No. 31
 18         Perfect 10 incorporates the General Objections as set forth above and notes
 19 that it has already produced most if not all of the discovery requested (see
 20 paragraph 18) herein.
 21         Perfect 10 objects to this request on the grounds that it is compound, and also
 22 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 23 burdensome, oppressive and vastly overbroad. Perfect 10 further objects to this
 24 request as it seeks the disclosure of information protected from discovery by the
 25 attorney-client privilege and the attorney work product doctrine. Perfect 10 further
 26 objects to this request on the grounds that it seeks information not relevant to the
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          54         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 subject matter of the action, and not reasonably calculated to lead to the discovery
  2 of admissible evidence.
  3         Subject to the above specific objections and Perfect 10’s general objections,
  4 Perfect 10 responds as follows: Perfect 10 is not aware of any non-privileged,
  5 responsive documents.
  6         Request for Production No. 32
  7         All documents concerning guarantees by, for, or arranged by Norman Zada
  8 since January 1, 2011.
  9         Response to Request for Production No. 32
 10         Perfect 10 incorporates the General Objections as set forth above and notes
 11 that it has already produced most if not all of the discovery requested (see
 12 paragraph 18) herein.
 13         Perfect 10 objects to this request on the grounds that it is compound, and also
 14 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 15 burdensome, oppressive and vastly overbroad. Perfect 10 further objects to this
 16 request as it seeks the disclosure of information protected from discovery by the
 17 attorney-client privilege and the attorney work product doctrine. Perfect 10 further
 18 objects to this request on the grounds that it seeks information not relevant to the
 19 subject matter of the action, and not reasonably calculated to lead to the discovery
 20 of admissible evidence. Perfect 10 further objects to this request because it violates
 21 Dr. Zada’s privacy.
 22         Subject to the above specific objections and Perfect 10’s general objections,
 23 Perfect 10 responds as follows: Perfect 10 is not aware of any non-privileged,
 24 responsive documents.
 25
 26
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 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          55         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Request for Production No. 33
  2         All documents concerning partnerships, limited liability companies, trusts,
  3 joint ventures, or other Persons in which Perfect 10 has ever had an interest or has
  4 participated.
  5         Response to Request for Production No. 33
  6         Perfect 10 incorporates the General Objections as set forth above and notes
  7 that it has already produced most if not all of the discovery requested (see
  8 paragraph 18) herein.
  9         Perfect 10 objects to this request on the grounds that it is compound, and also
 10 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 11 burdensome, oppressive and vastly overbroad. Perfect 10 further objects to this
 12 request as it seeks the disclosure of information protected from discovery by the
 13 attorney-client privilege and the attorney work product doctrine. Perfect 10 further
 14 objects to this request on the grounds that it seeks information not relevant to the
 15 subject matter of the action, and not reasonably calculated to lead to the discovery
 16 of admissible evidence. Perfect 10 further objects to this request because it violates
 17 Dr. Zada’s privacy.
 18         Subject to the above specific objections and Perfect 10’s general objections,
 19 Perfect 10 responds as follows: Perfect 10 is not aware of any non-privileged,
 20 responsive documents.
 21         Request for Production No. 34
 22         All documents concerning partnerships, limited liability companies, trusts,
 23 joint ventures, or other Persons in which Norman Zada has ever had an interest or
 24 has participated.
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 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          56         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Response to Request for Production No. 34
  2         Perfect 10 incorporates the General Objections as set forth above and notes
  3 that it has already produced most if not all of the discovery requested (see
  4 paragraph 18) herein.
  5         Perfect 10 objects to this request on the grounds that it is compound, and also
  6 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
  7 burdensome, wildly oppressive and vastly overbroad as it is unlimited as to time.
  8 Perfect 10 further objects to this request as it seeks the disclosure of information
  9 protected from discovery by the attorney-client privilege and the attorney work
 10 product doctrine. Perfect 10 further objects to this request on the grounds that it
 11 seeks information not relevant to the subject matter of the action, and not
 12 reasonably calculated to lead to the discovery of admissible evidence. Perfect 10
 13 objects to this request on the grounds that it violates Dr. Zada’s right of privacy and
 14 is prohibited by California Civil Code section 3295.
 15         Request for Production No. 38
 16         All documents concerning Perfect 10’s parent companies, subsidiary
 17 companies, affiliated companies, companies under common ownership,
 18 predecessors in interest, and successors in interest.
 19         Response to Request for Production No. 38
 20         Perfect 10 incorporates the General Objections as set forth above and notes
 21 that it has already produced most if not all of the discovery requested (see
 22 paragraph 18) herein.
 23         Perfect 10 objects to this request on the grounds that it is compound, and also
 24 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 25 burdensome, oppressive and vastly overbroad. Perfect 10 further objects to this
 26 request on the grounds that it seeks information not relevant to the subject matter of
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          57          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 the action, and not reasonably calculated to lead to the discovery of admissible
  2 evidence.
  3         Subject to the above specific objections and Perfect 10’s general objections,
  4 Perfect 10 responds as follows: Perfect 10 is not aware of any responsive
  5 documents.
  6         Request for Production No. 39
  7         All documents concerning insurance policies or coverage (including but not
  8 limited to homeowners insurance, commercial (or comprehensive) general liability
  9 insurance, media perils insurance, cyberliability insurance, network risk insurance,
 10 umbrella or excess insurance, car insurance, renters insurance, life insurance, health
 11 (including dental and vision) insurance, disability insurance, unemployment
 12 insurance, long-term care insurance), in which Perfect 10 or Norman Zada is an
 13 insured (including as a named or additional insured), for which Perfect 10 or
 14 Norman Zada has paid any premiums, or in which Perfect 10 or Norman Zada is a
 15 beneficiary.
 16         Response to Request for Production No. 39
 17         Perfect 10 incorporates the General Objections as set forth above and notes
 18 that it has already produced most if not all of the discovery requested (see
 19 paragraph 18) herein.
 20         Perfect 10 objects to this request on the grounds that it is compound, and also
 21 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 22 burdensome, wildly oppressive and vastly overbroad, as it is not limited as to time.
 23 Perfect 10 further objects to this request on the grounds that it seeks information not
 24 relevant to the subject matter of the action, and not reasonably calculated to lead to
 25 the discovery of admissible evidence. Perfect 10 further objects to this request
 26 because it violates Dr. Zada’s privacy.
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          58         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Subject to the above specific objections and Perfect 10’s general objections,
  2 Perfect 10 responds as follows: Perfect 10 and Dr. Zada have already contacted
  3 their insurance companies and determined that the policies did not cover Plaintiff’s
  4 claims in this or the related case. However, Perfect 10 will produce copies of
  5 insurance policies that it can locate upon a reasonable search.
  6         Request for Production No. 41
  7         All documents evidencing Norman Zada’s income, revenues, disbursements,
  8 expenses, profits, and losses from January 1, 2011 to present.
  9         Response to Request for Production No. 41
 10         Perfect 10 incorporates the General Objections as set forth above and notes
 11 that it has already produced most if not all of the discovery requested (see
 12 paragraph 18) herein.
 13         Perfect 10 objects to this request on the grounds that it is compound, and also
 14 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 15 burdensome, oppressive and vastly overbroad. Perfect 10 further objects to this
 16 request as it seeks the disclosure of information protected from discovery by the
 17 attorney-client privilege and the attorney work product doctrine. Perfect 10 further
 18 objects to this request on the grounds that it seeks information not relevant to the
 19 subject matter of the action, and not reasonably calculated to lead to the discovery
 20 of admissible evidence. Perfect 10 objects to this request on the grounds that it
 21 violates Dr. Zada’s right of privacy and is prohibited by California Civil Code
 22 section 3295.
 23         Subject to the above specific objections and Perfect 10’s general objections,
 24 Perfect 10 responds as follows: Dr. Zada will produce his 2014, 2015, and 2016 tax
 25 returns, as well as statements from the brokerage and bank accounts listed in the
 26 2014 tax return, which show the approximate amount of cash and cash equivalents
 27 he had at that time. Plaintiffs are already in possession of the first pages of Dr.
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                           59         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 Zada’s 2007, 2008, 2009, 2010, 2011, 2012, and 2013 tax returns, which show that
  2 he had very little interest or dividend income over that period, along with a tax loss
  3 carry-forward of -$8.581 million. He will also produce copies of his personal bank
  4 statements from December of 2012 to March of 2015. He will supplement the
  5 production of credit card statements that have already been produced, through
  6 January of 2017. He will not produce other documents, which violate his privacy
  7 and are not relevant to this case.
  8         Request for Production No. 42
  9         All documents evidencing income, revenues, disbursements, expenses,
 10 profits, and losses of any entity or business in which Norman Zada had a direct,
 11 indirect, or beneficial interest at any time from January 1, 2011 to present.
 12         Response to Request for Production No. 42
 13         Perfect 10 incorporates the General Objections as set forth above and notes
 14 that it has already produced most if not all of the discovery requested (see
 15 paragraph 18) herein.
 16         Perfect 10 objects to this request on the grounds that it is compound, and also
 17 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 18 burdensome, oppressive and vastly overbroad. Perfect 10 further objects to this
 19 request as it seeks the disclosure of information protected from discovery by the
 20 attorney-client privilege and the attorney work product doctrine. Perfect 10 further
 21 objects to this request on the grounds that it seeks information not relevant to the
 22 subject matter of the action, and not reasonably calculated to lead to the discovery
 23 of admissible evidence. Perfect 10 objects to this request on the grounds that it
 24 violates Dr. Zada’s right of privacy and is prohibited by California Civil Code
 25 section 3295.
 26         Subject to the above specific objections and Perfect 10’s general objections,
 27 Perfect 10 responds as follows: Dr. Zada will produce his 2014, 2015, and 2016 tax
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          60         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 returns, as well as statements from the brokerage and bank accounts listed in the
  2 2014 tax return, which show the approximate amount of cash and cash equivalents
  3 he had at that time. Plaintiffs are already in possession of the first pages of Dr.
  4 Zada’s 2007, 2008, 2009, 2010, 2011, 2012, and 2013 tax returns, which show that
  5 he had very little interest or dividend income over that period, along with a tax loss
  6 carry-forward of -$8.581 million. He will also produce copies of his personal bank
  7 statements from December of 2012 to March of 2015. He will supplement the
  8 production of credit card statements that have already been produced, through
  9 January of 2017. He will not produce other documents, which violate his privacy
 10 and are not relevant to this case.
 11         Request for Production No. 44
 12         All documents concerning assets acquired by any Person with proceeds from
 13 Perfect 10.
 14         Response to Request for Production No. 44
 15         Perfect 10 incorporates the General Objections as set forth above and notes
 16 that it has already produced most if not all of the discovery requested (see
 17 paragraph 18) herein.
 18         Perfect 10 objects to this request on the grounds that it is compound, and also
 19 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 20 burdensome, wildly oppressive and vastly overbroad, as it is unlimited as to time.
 21 Perfect 10 objects to this request on the basis that it does not specify the documents
 22 sought with particularity. Perfect 10 further objects to this request on the grounds
 23 that it seeks information not relevant to the subject matter of the action, and not
 24 reasonably calculated to lead to the discovery of admissible evidence. Perfect 10
 25 further objects to this request because it is duplicative of other previous requests
 26 and current requests. Perfect 10 objects to this request on the grounds that it
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          61          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 violates Dr. Zada’s right of privacy and is prohibited by California Civil Code
  2 section 3295.
  3         Subject to the above specific objections and Perfect 10’s general objections,
  4 Perfect 10 responds as follows:
  5 To the extent that Perfect 10 understands this confusing request, it is not aware of
  6 any responsive documents.
  7         Request for Production No. 45
  8         All documents concerning contracts, agreements, receipts, payments, sales,
  9 purchases, distributions, transfers, loans, leases, pledges, hypothecations, bailments,
 10 rentals, leases, loans, mortgages, securities, investments, collateral, and other
 11 transactions involving, to, by, for, for the benefit of, or on behalf of Perfect 10 or
 12 Norman Zada, regarding anything of value (including but not limited to drafts,
 13 execution documents, transmittals, communications, records, receipts, bills of sale,
 14 purchase orders, invoices, letters of credit, loan documents, bank statements, credit
 15 card statements, bank reconciliation reports, check registers, deposit slips,
 16 duplicates, facsimiles, photocopies, and cancelled checks) from January 1, 2011 to
 17 present.
 18         Response to Request for Production No. 45
 19         Perfect 10 incorporates the General Objections as set forth above and notes
 20 that it has already produced most if not all of the discovery requested (see
 21 paragraph 18) herein.
 22         Perfect 10 objects to this request on the grounds that it is compound, and also
 23 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 24 burdensome, wildly oppressive and vastly overbroad. Perfect 10 further objects to
 25 this request as it seeks the disclosure of information protected from discovery by
 26 the attorney-client privilege and the attorney work product doctrine. Perfect 10
 27 further objects to this request on the grounds that it seeks information not relevant
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                           62         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 to the subject matter of the action, and not reasonably calculated to lead to the
  2 discovery of admissible evidence. Perfect 10 objects to this request on the grounds
  3 that it violates Dr. Zada’s right of privacy and is prohibited by California Civil
  4 Code section 3295.
  5         Subject to the above specific objections and Perfect 10’s general objections,
  6 Perfect 10 responds as follows: Perfect 10 has already provided its tax returns,
  7 detailed financial statements showing every transaction, and bank accounts going
  8 back from at least 2014 to 1996, which is far more than Plaintiffs ever did, as they
  9 have consistently refused to provide similar discovery. To the extent that there are
 10 additional bank statements, tax returns, etc. that have not already been produced,
 11 they will be produced. Dr. Zada will also supplement the production of his personal
 12 credit card statements so that they extend to January of 2017. Perfect 10 will also
 13 attempt to supplement its production of cancelled checks. However, the rest of this
 14 request was clearly done to vex and harass, asks for materials that are irrelevant
 15 and/or violate Dr. Zada’s privacy, and will not be provided.
 16         Request for Production No. 47
 17         All documents concerning receipts by Norman Zada of anything of value or
 18 tokens of anything of value for the benefit of any other person or entity.
 19         Response to Request for Production No. 47
 20         Perfect 10 incorporates the General Objections as set forth above and notes
 21 that it has already produced most if not all of the discovery requested (see
 22 paragraph 18) herein.
 23         Perfect 10 objects to this request on the grounds that it is compound, and also
 24 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 25 burdensome, wildly oppressive and vastly overbroad, as there is no limitation on
 26 time. Perfect 10 further objects to this request as it seeks the disclosure of
 27 information protected from discovery by the attorney-client privilege and the
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          63          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 attorney work product doctrine. Perfect 10 further objects to this request on the
  2 grounds that it seeks information not relevant to the subject matter of the action,
  3 and not reasonably calculated to lead to the discovery of admissible evidence.
  4 Perfect 10 objects to this request on the grounds that it violates Dr. Zada’s right of
  5 privacy and is prohibited by California Civil Code section 3295.
  6         Subject to the above specific objections and Perfect 10’s general objections,
  7 Perfect 10 responds as follows: Dr. Zada will produce his 2014, 2015, and 2016 tax
  8 returns, as well as statements from the brokerage and bank accounts listed in the
  9 2014 tax return, which show the approximate amount of cash and cash equivalents
 10 he had at that time. Plaintiffs are already in possession of the first pages of Dr.
 11 Zada’s 2007, 2008, 2009, 2010, 2011, 2012, and 2013 tax returns, which show that
 12 he had very little interest or dividend income over that period, along with a tax loss
 13 carry-forward of -$8.581 million. He will also produce copies of his personal bank
 14 statements from December of 2012 to March of 2015. He will supplement the
 15 production of credit card statements that have already been produced, through
 16 January of 2017. He will not produce other documents, which violate his privacy
 17 and are not relevant to this case.
 18         Request for Production No. 49
 19         All documents concerning values of any entity or business, or any segment,
 20 asset or liability thereof (including but not limited to documents concerning formal
 21 or informal appraisals, valuations, estimates of value, suggested prices or values,
 22 market prices, offers or demands, proposals, invitations, or pro forma indications or
 23 characterizations of value), directly or beneficially owned by Norman Zada.
 24         Response to Request for Production No. 49
 25         Perfect 10 incorporates the General Objections as set forth above and notes
 26 that it has already produced most if not all of the discovery requested (see
 27 paragraph 18) herein.
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                           64         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Perfect 10 objects to this request on the grounds that it is compound, and also
  2 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
  3 burdensome, wildly oppressive and vastly overbroad, as it is not limited as to time.
  4 Perfect 10 further objects to this request on the grounds that it seeks information not
  5 relevant to the subject matter of the action, and not reasonably calculated to lead to
  6 the discovery of admissible evidence. Perfect 10 objects to this request on the
  7 grounds that it violates Dr. Zada’s right of privacy and is prohibited by California
  8 Civil Code section 3295.
  9         Request for Production No. 50
 10         All documents concerning any credit of Perfect 10 or Norman Zada
 11 (including but not limited to credit lines, credit limits, retainers, deposits,
 12 prepayments, and security for payment).
 13         Response to Request for Production No. 50
 14         Perfect 10 incorporates the General Objections as set forth above and notes
 15 that it has already produced most if not all of the discovery requested (see
 16 paragraph 18) herein.
 17         Perfect 10 objects to this request on the grounds that it is compound, and also
 18 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 19 burdensome, wildly oppressive and vastly overbroad, as it is indefinite as to time.
 20 Perfect 10 further objects to this request as it seeks the disclosure of information
 21 protected from discovery by the attorney-client privilege and the attorney work
 22 product doctrine. Perfect 10 further objects to this request on the grounds that it
 23 seeks information not relevant to the subject matter of the action, and not
 24 reasonably calculated to lead to the discovery of admissible evidence. Perfect 10
 25 objects to this request on the grounds that it violates Dr. Zada’s right of privacy and
 26 is prohibited by California Civil Code section 3295.
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                           65          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Subject to the above specific objections and Perfect 10’s general objections,
  2 Perfect 10 responds as follows: Perfect 10 has already provided its tax returns,
  3 detailed financial statements showing every transaction, and bank accounts going
  4 back from at least 2014 to 1996, which is far more than Plaintiffs ever did, as they
  5 have consistently refused to provide similar discovery. Dr. Zada will be producing
  6 his 2014, 2015, and 2016 tax returns, as well as brokerage and bank statements at
  7 the end of 2014. He will also produce copies of his personal bank statements from
  8 December of 2012 to March of 2015. He will supplement the production of credit
  9 card statements that have already been produced, through January of 2017.To the
 10 extent that there are additional Perfect 10 bank statements, tax returns, etc. that
 11 have not already been produced, they will be produced. Perfect 10 will also attempt
 12 to supplement its production of cancelled checks. However, the rest of this request
 13 was clearly done to vex and harass, asks for materials that are irrelevant and/or
 14 violate Dr. Zada’s privacy going back years, and will not be provided.
 15         Request for Production No. 51
 16         All documents concerning all credit cards and credit card accounts used by
 17 any Person for the benefit of Perfect 10 or Norman Zada.
 18         Response to Request for Production No. 51
 19         Perfect 10 incorporates the General Objections as set forth above and notes
 20 that it has already produced most if not all of the discovery requested (see
 21 paragraph 18) herein.
 22         Perfect 10 objects to this request on the grounds that it is compound, and also
 23 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 24 burdensome, wildly oppressive and vastly overbroad, as it is not limited as to time.
 25 Perfect 10 further objects to this request on the grounds that it seeks information not
 26 relevant to the subject matter of the action, and not reasonably calculated to lead to
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
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  1 the discovery of admissible evidence. Perfect 10 further objects to this request
  2 because it violates Dr. Zada’s privacy.
  3         Perfect 10 incorporates the General Objections as set forth above and notes
  4 that it has already produced most if not all of the discovery requested (see
  5 paragraph 18) herein.
  6         Subject to the above specific objections and Perfect 10’s general objections,
  7 Perfect 10 responds as follows: Perfect 10 has already provided its tax returns,
  8 detailed financial statements showing every transaction, and bank accounts going
  9 back from at least 2014 to 1996, which is far more than Plaintiffs ever did, as they
 10 have consistently refused to provide similar discovery. Dr. Zada will be producing
 11 his 2014, 2015, and 2016 tax returns, as well as brokerage and bank statements at
 12 the end of 2014. He will also produce copies of his personal bank statements from
 13 December of 2012 to March of 2015. He will supplement the production of credit
 14 card statements that have already been produced, through January of 2017. To the
 15 extent that there are additional Perfect 10 bank statements, tax returns, etc. that
 16 have not already been produced, they will be produced. However, the rest of this
 17 request was clearly done to vex and harass, asks for materials that are irrelevant
 18 and/or violate Dr. Zada’s privacy going back years, and will not be provided.
 19         Request for Production No. 52
 20         All documents concerning any debts of, or debt collection efforts against or
 21 by, Perfect 10 or Norman Zada.
 22         Response to Request for Production No. 52
 23         Perfect 10 incorporates the General Objections as set forth above and notes
 24 that it has already produced most if not all of the discovery requested (see
 25 paragraph 18) herein.
 26         Perfect 10 objects to this request on the grounds that it is compound, and also
 27 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          67          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 burdensome, wildly oppressive and vastly overbroad, as it is not limited as to time.
  2 Perfect 10 further objects to this request on the grounds that it seeks information not
  3 relevant to the subject matter of the action, and not reasonably calculated to lead to
  4 the discovery of admissible evidence. Perfect 10 further objects to this request
  5 because it violates Dr. Zada’s privacy.
  6         Subject to the above specific objections and Perfect 10’s general objections,
  7 Perfect 10 responds as follows: Perfect 10 has only two creditors, Plaintiffs and Dr.
  8 Zada. Dr. Zada does not have any debts, other than routine credit card bills and
  9 other routine expenses.
 10         Request for Production No. 53
 11         All documents concerning any expenses of Perfect 10 or Norman Zada,
 12 including prepaid expenses and accrued expenses.
 13         Response to Request for Production No. 53
 14         Perfect 10 incorporates the General Objections as set forth above and notes
 15 that it has already produced most if not all of the discovery requested (see
 16 paragraph 18) herein.
 17         Perfect 10 objects to this request on the grounds that it is compound, and also
 18 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 19 burdensome, wildly oppressive and vastly overbroad, as it is not limited as to time.
 20 Perfect 10 further objects to this request on the grounds that it seeks information not
 21 relevant to the subject matter of the action, and not reasonably calculated to lead to
 22 the discovery of admissible evidence. Perfect 10 further objects to this request
 23 because it violates Dr. Zada’s privacy.
 24         Perfect 10 incorporates the General Objections as set forth above and notes
 25 that it has already produced most if not all of the discovery requested (see
 26 paragraph 18) herein.
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          68         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Perfect 10 objects to this request on the grounds that it is compound, and also
  2 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
  3 burdensome, wildly oppressive and vastly overbroad, as it is indefinite as to time.
  4 Perfect 10 further objects to this request as it seeks the disclosure of information
  5 protected from discovery by the attorney-client privilege and the attorney work
  6 product doctrine. Perfect 10 further objects to this request on the grounds that it
  7 seeks information not relevant to the subject matter of the action, and not
  8 reasonably calculated to lead to the discovery of admissible evidence. Perfect 10
  9 objects to this request on the grounds that it violates Dr. Zada’s right of privacy and
 10 is prohibited by California Civil Code section 3295.
 11         Subject to the above specific objections and Perfect 10’s general objections,
 12 Perfect 10 responds as follows: Perfect 10 has already provided its tax returns,
 13 detailed financial statements showing every transaction, and bank accounts going
 14 back from at least 2014 to 1996, which is far more than Plaintiffs ever did, as they
 15 have consistently refused to provide similar discovery. Dr. Zada will be producing
 16 his 2014, 2015, and 2016 tax returns, as well as brokerage and bank statements at
 17 the end of 2014. He will also produce copies of his personal bank statements from
 18 December of 2012 to March of 2015. He will supplement the production of credit
 19 card statements that have already been produced, through January of 2017. To the
 20 extent that there are additional Perfect 10 bank statements, tax returns, etc. that
 21 have not already been produced, they will be produced. However, the rest of this
 22 request was clearly done to vex and harass, asks for materials that are irrelevant
 23 and/or violate Dr. Zada’s privacy going back years, and will not be provided.
 24         Request for Production No. 55
 25         All documents concerning all credit cards and credit card accounts in the
 26 name of Perfect 10 or Norman Zada and used for the benefit of any Person.
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          69          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Response to Request for Production No. 55
  2         Perfect 10 incorporates the General Objections as set forth above and notes
  3 that it has already produced most if not all of the discovery requested (see
  4 paragraph 18) herein.
  5         Perfect 10 objects to this request on the grounds that it is compound, and also
  6 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
  7 burdensome, wildly oppressive and vastly overbroad, as it is indefinite as to time.
  8 Perfect 10 further objects to this request as it seeks the disclosure of information
  9 protected from discovery by the attorney-client privilege and the attorney work
 10 product doctrine. Perfect 10 further objects to this request on the grounds that it
 11 seeks information not relevant to the subject matter of the action, and not
 12 reasonably calculated to lead to the discovery of admissible evidence. Perfect 10
 13 objects to this request on the grounds that it violates Dr. Zada’s right of privacy and
 14 is prohibited by California Civil Code section 3295.
 15         Subject to the above specific objections and Perfect 10’s general objections,
 16 Perfect 10 responds as follows: Perfect 10 has already provided its tax returns,
 17 detailed financial statements showing every transaction, and bank accounts going
 18 back from at least 2014 to 1996, which is far more than Plaintiffs ever did, as they
 19 have consistently refused to provide similar discovery. Dr. Zada will be producing
 20 his 2014, 2015, and 2016 tax returns, as well as brokerage and bank statements at
 21 the end of 2014. He will also produce copies of his personal bank statements from
 22 December of 2012 to March of 2015. He will supplement the production of credit
 23 card statements that have already been produced, through January of 2017. To the
 24 extent that there are additional Perfect 10 bank statements, tax returns, etc. that
 25 have not already been produced, they will be produced. However, the rest of this
 26 request was clearly done to vex and harass, asks for materials that are irrelevant
 27 and/or violate Dr. Zada’s privacy going back years, and will not be provided.
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          70          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Request for Production No. 57
  2         All documents concerning real property owned, occupied, possessed,
  3 controlled, leased, rented, or used by Perfect 10 or Norman Zada (including persons
  4 acting as their employees, contractors, or agents) since January 1, 2011.
  5         Response to Request for Production No. 57
  6         Perfect 10 incorporates the General Objections as set forth above and notes
  7 that it has already produced most if not all of the discovery requested (see
  8 paragraph 18) herein.
  9         Perfect 10 objects to this request on the grounds that it is compound, and also
 10 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 11 burdensome, oppressive and vastly overbroad. Perfect 10 further objects to this
 12 request as it seeks the disclosure of information protected from discovery by the
 13 attorney-client privilege and the attorney work product doctrine. Perfect 10 further
 14 objects to this request on the grounds that it seeks information not relevant to the
 15 subject matter of the action, and not reasonably calculated to lead to the discovery
 16 of admissible evidence. Perfect 10 objects to this request on the grounds that it
 17 violates Dr. Zada’s right of privacy and is prohibited by California Civil Code
 18 section 3295.
 19         Subject to the above specific objections and Perfect 10’s general objections,
 20 Perfect 10 responds as follows: Perfect 10 has already agreed to produce documents
 21 regarding its furniture and computers, and Dr. Zada desk, to the extent they have
 22 not already been produced. Dr. Zada owns two properties. One at 11803 Norfield
 23 Court, and one at 4572 Martson Dr. in Encino, which he purchased in June of 2015.
 24 The rest of this request will not be answered as it is irrelevant to issue of unlawful
 25 reconveyance and violates Dr. Zada’s privacy.
 26
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          71          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Request for Production No. 58
  2         All documents concerning personal property owned, possessed, controlled,
  3 leased, rented, lent, borrowed, or used by Perfect 10 or Norman Zada (including by
  4 persons acting as employees, contractors, or agents of Perfect 10 or Norman Zada)
  5 since January 1, 2011 (including but not limited to documents concerning
  6 transactions concerning personal property and locations of personal property).
  7         Response to Request for Production No. 58
  8         Perfect 10 incorporates the General Objections as set forth above and notes
  9 that it has already produced most if not all of the discovery requested (see
 10 paragraph 18) herein.
 11         Perfect 10 objects to this request on the grounds that it is compound, and also
 12 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 13 burdensome, oppressive and vastly overbroad. Perfect 10 further objects to this
 14 request as it seeks the disclosure of information protected from discovery by the
 15 attorney-client privilege and the attorney work product doctrine. Perfect 10 further
 16 objects to this request on the grounds that it seeks information not relevant to the
 17 subject matter of the action, and not reasonably calculated to lead to the discovery
 18 of admissible evidence. Perfect 10 objects to this request on the grounds that it
 19 violates Dr. Zada’s right of privacy and is prohibited by California Civil Code
 20 section 3295.
 21         Subject to the above specific objections and Perfect 10’s general objections,
 22 Perfect 10 responds as follows: Perfect 10 has already agreed to produce documents
 23 regarding its furniture and computers, and Dr. Zada desk, to the extent they have
 24 not already been produced. Dr. Zada owns two properties. One at 11803 Norfield
 25 Court, and one at 4572 Martson Dr. in Encino, which he purchased in June of 2015.
 26 The rest of this request will not be answered as it is irrelevant to issue of unlawful
 27 reconveyance and violates Dr. Zada’s privacy.
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          72          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Request for Production No. 59
  2         All documents concerning any interests of Perfect 10 or Norman Zada in any
  3 things of value.
  4         Response to Request for Production No. 59
  5         Perfect 10 incorporates the General Objections as set forth above and notes
  6 that it has already produced most if not all of the discovery requested (see
  7 paragraph 18) herein.
  8         Perfect 10 objects to this request on the grounds that it is compound, and also
  9 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 10 burdensome, wildly oppressive and vastly overbroad, as it is indefinite as to time.
 11 Perfect 10 further objects to this request as it seeks the disclosure of information
 12 protected from discovery by the attorney-client privilege and the attorney work
 13 product doctrine. Perfect 10 further objects to this request on the grounds that it
 14 seeks information not relevant to the subject matter of the action, and not
 15 reasonably calculated to lead to the discovery of admissible evidence. Perfect 10
 16 objects to this request on the grounds that it violates Dr. Zada’s right of privacy and
 17 is prohibited by California Civil Code section 3295.
 18         Subject to the above specific objections and Perfect 10’s general objections,
 19 Perfect 10 responds as follows: Perfect 10 has already provided its tax returns,
 20 detailed financial statements showing every transaction, and bank accounts going
 21 back from at least 2013 to 1996, which is far more than Plaintiffs ever did, as they
 22 have consistently refused to provide similar discovery. Dr. Zada will be producing
 23 his 2014, 2015, and 2016 tax returns, as well as brokerage and bank statements at
 24 the end of 2014. To the extent that there are additional Perfect 10 bank statements,
 25 tax returns, etc. that have not already been produced, they will be produced.
 26 However, the rest of this request was clearly done to vex and harass, asks for
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          73         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 materials that are irrelevant and/or violate Dr. Zada’s privacy going back years, and
  2 will not be provided.
  3         Request for Production No. 60
  4         All documents concerning any safe or strongbox, storage facility, or their
  5 contents, located at 11803 Norwood Court, Los Angeles, CA; 72 Beverly Park
  6 Drive, Beverly Hills, CA; or at any other location or premises occupied, used,
  7 controlled, or available to Perfect 10 or any Perfect 10 employee or contractor.
  8         Response to Request for Production No. 60
  9         Perfect 10 incorporates the General Objections as set forth above and notes
 10 that it has already produced most if not all of the discovery requested (see
 11 paragraph 18) herein.
 12         Perfect 10 objects to this request on the grounds that it is compound. Perfect
 13 10 objects to this request on the grounds that it is wildly burdensome, oppressive
 14 and vastly overbroad, as it is unlimited as to time. Perfect 10 further objects to this
 15 request on the grounds that it seeks information not relevant to the subject matter of
 16 the action, and not reasonably calculated to lead to the discovery of admissible
 17 evidence. Perfect 10’s bank statements show that no cash was ever removed from
 18 the Perfect 10 bank account, meaning that any cash in Dr. Zada’s safe is Dr. Zada’s.
 19 Perfect 10 objects to this request on the grounds that it violates Dr. Zada’s right of
 20 privacy and is prohibited by California Civil Code section 3295.
 21         Request for Production No. 61
 22         All documents concerning any safe deposit box, storage facility, or their
 23 contents, controlled by Perfect 10 or Norman Zada, used for their property or
 24 benefit, or accessible to any of their employees or contractors.
 25
 26
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          74          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Response to Request for Production No. 61
  2         Perfect 10 incorporates the General Objections as set forth above and notes
  3 that it has already produced most if not all of the discovery requested (see
  4 paragraph 18) herein.
  5         Perfect 10 objects to this request on the grounds that it is compound. Perfect
  6 10 objects to this request on the grounds that it is wildly burdensome, oppressive
  7 and vastly overbroad, as it is unlimited as to time. Perfect 10 further objects to this
  8 request on the grounds that it seeks information not relevant to the subject matter of
  9 the action, and not reasonably calculated to lead to the discovery of admissible
 10 evidence. Perfect 10’s bank statements show that no cash was ever removed from
 11 the Perfect 10 bank account, meaning that any cash in Dr. Zada’s safe is Dr. Zada’s.
 12 Perfect 10 objects to this request on the grounds that it violates Dr. Zada’s right of
 13 privacy and is prohibited by California Civil Code section 3295.
 14         Request for Production No. 62
 15         All documents concerning personal property of any Person at any address of
 16 property occupied or used by Perfect 10 at any time, including but not limited to
 17 currency; specie; bullion; commodities; gold, silver, or other precious metals;
 18 jewelry (including watches) and gemstones; securities (including but not limited to
 19 bearer securities); certificates (including certificates of deposit); firearms and other
 20 weapons; gaming tokens and casino chips; or evidence of indebtedness.
 21         Response to Request for Production No. 62
 22         Perfect 10 incorporates the General Objections as set forth above and notes
 23 that it has already produced most if not all of the discovery requested (see
 24 paragraph 18) herein.
 25         Perfect 10 objects to this request on the grounds that it is compound.
 26 Perfect10 objects to this request on the grounds that it is wildly burdensome,
 27 oppressive and vastly overbroad, as it is unlimited as to time. Perfect 10 further
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                           75         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 objects to this request on the grounds that it seeks information not relevant to the
  2 subject matter of the action, and not reasonably calculated to lead to the discovery
  3 of admissible evidence. Perfect 10’s bank statements show that no cash was ever
  4 removed from the Perfect 10 bank account, and no monies were ever spent to
  5 purchase gold, meaning that any cash or gold in Dr. Zada’s safe is Dr. Zada’s.
  6 Perfect 10 objects to this request on the grounds that it violates Dr. Zada’s right of
  7 privacy and is prohibited by California Civil Code section 3295.
  8         Request for Production No. 63
  9         All documents concerning Bitcoin or other cryptocurrency and either Perfect
 10 10 or Norman Zada.
 11         Response to Request for Production No. 63
 12         Perfect 10 is not aware of any responsive documents.
 13         Request for Production No. 64
 14         All documents not previously produced to Giganews or Livewire, concerning
 15 copyrights, patents, trademarks, domain names, publicity rights, trade secrets,
 16 domain names, or other intangible rights or interests owned, controlled,
 17 administered, managed, possessed, used, commercialized, monetized, exploited,
 18 transferred, licensed, hypothecated, pledged, or otherwise acted upon by Perfect 10
 19 or Norman Zada.
 20         Response to Request for Production No. 64
 21         Perfect 10 incorporates the General Objections as set forth above and notes
 22 that it has already produced most if not all of the discovery requested (see
 23 paragraph 18) herein.
 24         Perfect 10 objects to this request on the grounds that it is compound. Perfect
 25 10 objects to this request on the grounds that it is burdensome, oppressive and
 26 vastly overbroad. Perfect 10 further objects to this request on the grounds that it
 27 seeks information not relevant to the subject matter of the action, and not
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          76         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 reasonably calculated to lead to the discovery of admissible evidence. Perfect 10
  2 objects to this request on the grounds that it violates Dr. Zada’s right of privacy and
  3 is prohibited by California Civil Code section 3295.
  4         Subject to the above specific objections and Perfect 10’s general objections,
  5 Perfect 10 responds as follows: Perfect 10 is not aware of any response,
  6 nonprivileged documents that have not already been produced.
  7         Request for Production No. 65
  8         All documents concerning communications with any accountant, auditor, tax
  9 professional, asset protection advisor, financial institution, creditor, or debt
 10 collector of Perfect 10 or Norman Zada.
 11         Response to Request for Production No. 65
 12         Perfect 10 incorporates the General Objections as set forth above and notes
 13 that it has already produced most if not all of the discovery requested (see
 14 paragraph 18) herein.
 15         Perfect 10 objects to this request on the grounds that it is compound. Perfect
 16 10 objects to this request on the grounds that it is burdensome, wildly oppressive
 17 and vastly overbroad as it is unlimited as to time. Perfect 10 further objects to this
 18 request on the grounds that it seeks information not relevant to the subject matter of
 19 the action, and not reasonably calculated to lead to the discovery of admissible
 20 evidence. Perfect 10 objects to this request on the grounds that it violates Dr.
 21 Zada’s right of privacy and is prohibited by California Civil Code section 3295.
 22 Subject to the above specific objections and Perfect 10’s general objections, Perfect
 23 10 responds as follows: Perfect 10 has already provided most of its tax returns and
 24 will supplement that production. Perfect 10 is not aware of any creditors of Perfect
 25 10 other than plaintiffs. Dr. Zada does not currently owe anyone money to his
 26 knowledge.
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                           77         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Request for Production No. 67
  2         All documents concerning the tax filings in any jurisdiction of Norman Zada
  3 or any Person in which Norman Zada has had a direct or beneficial interest, from
  4 tax year 2011 to present.
  5         Response to Request for Production No. 67
  6         Perfect 10 incorporates the General Objections as set forth above and notes
  7 that it has already produced most if not all of the discovery requested (see
  8 paragraph 18) herein.
  9         Perfect 10 objects to this request on the grounds that it is compound, and also
 10 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 11 burdensome, oppressive and vastly overbroad. Perfect 10 further objects to this
 12 request as it seeks the disclosure of information protected from discovery by the
 13 attorney-client privilege and the attorney work product doctrine. Perfect 10 further
 14 objects to this request on the grounds that it seeks information not relevant to the
 15 subject matter of the action, and not reasonably calculated to lead to the discovery
 16 of admissible evidence. Perfect 10 objects to this request on the grounds that it
 17 violates Dr. Zada’s right of privacy and is prohibited by California Civil Code
 18 section 3295.
 19         Subject to the above specific objections and Perfect 10’s general objections,
 20 Perfect 10 responds as follows: Dr. Zada will produce his 2014, 2015, and 2016 tax
 21 returns, as well as statements from the brokerage and bank accounts listed in the
 22 2014 tax return, which show the approximate amount of cash and cash equivalents
 23 he had at that time. Plaintiffs are already in possession of the first pages of Dr.
 24 Zada’s 2007, 2008, 2009, 2010, 2011, 2012, and 2013 tax returns, which show that
 25 he had very little interest or dividend income over that period, along with a tax loss
 26 carry-forward of -$8.581 million. He will not produce other documents, which
 27 violate his privacy and are not relevant to this case.
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                           78          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Request for Production No. 68
  2         All documents concerning the accounting of debts of Perfect 10 or Norman
  3 Zada for purposes of determining federal or state tax liability of any Person,
  4 including communications with any accountant, auditor, tax professional, asset
  5 protection advisor, financial institution, creditor, or debt collector.
  6         Response to Request for Production No. 68
  7         Perfect 10 incorporates the General Objections as set forth above and notes
  8 that it has already produced most if not all of the discovery requested (see
  9 paragraph 18) herein.
 10         Perfect 10 objects to this request on the grounds that it is compound, and also
 11 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 12 burdensome, oppressive and vastly overbroad. Perfect 10 further objects to this
 13 request as it seeks the disclosure of information protected from discovery by the
 14 attorney-client privilege and the attorney work product doctrine. Perfect 10 further
 15 objects to this request on the grounds that it seeks information not relevant to the
 16 subject matter of the action, and not reasonably calculated to lead to the discovery
 17 of admissible evidence. Perfect 10 objects to this request on the grounds that it
 18 violates Dr. Zada’s right of privacy and is prohibited by California Civil Code
 19 section 3295.
 20         Subject to the above specific objections and Perfect 10’s general objections,
 21 Perfect 10 responds as follows: Dr. Zada will produce his 2014, 2015, and 2016 tax
 22 returns, as well as statements from the brokerage and bank accounts listed in the
 23 2014 tax return, which show the approximate amount of cash and cash equivalents
 24 he had at that time. Plaintiffs are already in possession of the first pages of Dr.
 25 Zada’s 2007, 2008, 2009, 2010, 2011, 2012, and 2013 tax returns, which show that
 26 he had very little interest or dividend income over that period, along with a tax loss
 27 carry-forward of -$8.581 million. He will also produce copies of his personal bank
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                           79          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 statements from December of 2012 to March of 2015. He will supplement the
  2 production of credit card statements that have already been produced, through
  3 January of 2017.To the extent that there are additional Perfect 10 bank statements,
  4 tax returns, etc. that have not already been produced, they will be produced. Dr.
  5 Zada will not produce other documents, which violate his privacy and are not
  6 relevant to this case.
  7         Request for Production No. 69
  8         All documents concerning the accounting of equity in Perfect 10 for purposes
  9 of determining federal or state tax liability of any Person, including
 10 communications with any accountant, auditor, tax professional, asset protection
 11 advisor, financial institution, creditor, or debt collector.
 12         Response to Request for Production No. 69
 13         Perfect 10 incorporates the General Objections as set forth above and notes
 14 that it has already produced most if not all of the discovery requested (see
 15 paragraph 18) herein.
 16         Perfect 10 objects to this request on the grounds that it is compound, and also
 17 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 18 burdensome, oppressive and vastly overbroad. Perfect 10 further objects to this
 19 request as it seeks the disclosure of information protected from discovery by the
 20 attorney-client privilege and the attorney work product doctrine. Perfect 10 further
 21 objects to this request on the grounds that it seeks information not relevant to the
 22 subject matter of the action, and not reasonably calculated to lead to the discovery
 23 of admissible evidence. Perfect 10 objects to this request on the grounds that it
 24 violates Dr. Zada’s right of privacy and is prohibited by California Civil Code
 25 section 3295.
 26         Subject to the above specific objections and Perfect 10’s general objections,
 27 Perfect 10 responds as follows: Dr. Zada will produce his 2014, 2015, and 2016 tax
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                           80          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 returns, as well as statements from the brokerage and bank accounts listed in the
  2 2014 tax return, which show the approximate amount of cash and cash equivalents
  3 he had at that time. Plaintiffs are already in possession of the first pages of Dr.
  4 Zada’s 2007, 2008, 2009, 2010, 2011, 2012, and 2013 tax returns, which show that
  5 he had very little interest or dividend income over that period, along with a tax loss
  6 carry-forward of -$8.581 million. He will also produce copies of his personal bank
  7 statements from December of 2012 to March of 2015. He will supplement the
  8 production of credit card statements that have already been produced, through
  9 January of 2017. To the extent that there are additional Perfect 10 bank statements,
 10 tax returns, etc. that have not already been produced, they will be produced. Dr.
 11 Zada will not produce other documents, which violate his privacy and are not
 12 relevant to this case.
 13         Request for Production No. 70
 14         All documents concerning travel by or on behalf of Perfect 10 or Norman
 15 Zada outside the United States.
 16         Response to Request for Production No. 70
 17         Perfect 10 incorporates the General Objections as set forth above and notes
 18 that it has already produced most if not all of the discovery requested (see
 19 paragraph 18) herein.
 20         Perfect 10 objects to this request on the grounds that it is compound. Perfect
 21 10 objects to this request on the grounds that it is wildly burdensome, oppressive
 22 and vastly overbroad, as it is unlimited as to time. Perfect 10 further objects to this
 23 request on the grounds that it seeks information not relevant to the subject matter of
 24 the action, and not reasonably calculated to lead to the discovery of admissible
 25 evidence. Perfect 10 objects to this request on the grounds that it violates Dr.
 26 Zada’s right of privacy and is prohibited by California Civil Code section 3295.
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          81          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Request for Production No. 74
  2         All documents concerning any automobiles owned, operated, maintained,
  3 insured, or otherwise controlled by Perfect 10 or Norman Zada, including but not
  4 limited to communications with any accountant, auditor, tax professional, asset
  5 protection advisor, financial institution, creditor, or debt collector.
  6         Response to Request for Production No. 74
  7         Perfect 10 incorporates the General Objections as set forth above and notes
  8 that it has already produced most if not all of the discovery requested (see
  9 paragraph 18) herein.
 10         Perfect 10 objects to this request on the grounds that it is compound. Perfect
 11 10 objects to this request on the grounds that it is wildly burdensome, oppressive
 12 and vastly overbroad, as it is unlimited as to time. Perfect 10 further objects to this
 13 request on the grounds that it seeks information not relevant to the subject matter of
 14 the action, and not reasonably calculated to lead to the discovery of admissible
 15 evidence. Perfect 10 objects to this request on the grounds that it violates Dr.
 16 Zada’s right of privacy and is prohibited by California Civil Code section 3295.
 17         Subject to the above specific objections and Perfect 10’s general objections,
 18 Perfect 10 responds as follows:
 19 Perfect 10 will produce the pink slip for the 2009 Lexus, which shows that Dr. Zada
 20 owned that car as of April 2012.
 21         Giganews and Livewire’s Position
 22         These requests seek information about Defendants’ assets and liabilities;
 23 some also seek communications about those topics, such as communications with
 24 Perfect 10’s and Zada’s accountant Bruce Hersh or debtors of Perfect 10 like Sean
 25 Chumura. Defendants’ responses all purport to withhold responsive documents
 26 based on concerns regarding Mr. Zada’s privacy. But the Court made clear at the
 27 July 19 hearing that Plaintiffs are entitled to discover information from both Perfect
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                           82          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 10 and Zada and that it will not exclude otherwise discoverable material based on a
  2 privacy objection. See Hearing Transcript at 9:15–25; 18:4–16; 20:12–21:2; 24:14–
  3 22; 25:12–20; 26:4–7; 28:13–17; 30:20–22; 33:17–18. Zada agreed to produce
  4 only a selection of his tax returns, bank statements, and credit card statements, none
  5 of which reflect the full extent of his assets and liabilities, including those he held
  6 for the benefit of Perfect 10. The responses indicate that both he and Perfect 10
  7 have withheld additional documents based on the privacy objection.
  8               Defendants’ other objections are boilerplate and invalid.
  9         Defendants assert other boilerplate objections that merit little consideration.
 10 Defendants object to every request on the grounds that it is “compound, and also
 11 vague and ambiguous.” But they provide no terms or phrases they claim to find
 12 confusing, nor do they explain what makes each request compound so that
 13 Giganews and Livewire might respond.
 14         Defendants’ Position
 15         Once again, Plaintiffs have failed to include Defendants’ Amended responses
 16 or acknowledge Dr. Zada’s extensive document production which they received on
 17 August 1, 2018, a week before filing this joint stipulation. Mickelson Decl. ¶ 3, 4,
 18 Ex. 1-5; Zada Decl. ¶ 2, Ex. 1. Instead, Plaintiffs’ falsely claim that “Zada agreed
 19 to produce only a selection of his tax returns, bank statements, and credit card
 20 statements, none of which reflect the full extent of his assets and liabilities,
 21 including those he held for the benefit of Perfect 10. The responses indicate that
 22 both he and Perfect 10 have withheld additional documents based on the privacy
 23 objection.” This is patently false. Dr. Zada has produced all tax returns in his
 24 possession from 2013 onward, all bank statements and bank reconciliations from
 25 2013 onward. Zada Decl. ¶ 2, Ex. 1. The only documents left to produce are a few
 26 statements for inactive cancelled credit cards which Dr. Zada has ordered. Zada
 27 Decl. ¶ 2, Ex. 1. Once again, Defendants’ request that the Court review Defendants
 28
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      MOTION TO COMPEL                           83         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 discovery responses, and if it determines that Plaintiffs have made repeated false
  2 statements, make such a finding in its order, and sanction Plaintiffs if warranted.
  3         Furthermore, as is apparent from Exhibit D to the Gregorian declaration,
  4 Plaintiffs never met and conferred on any document request, in complete violation
  5 of the local rules, and complete disrespect of this Court’s limited resources. They
  6 just filed this massive motion without making any attempt to reduce the Court’s
  7 burden. It appears that Plaintiffs have just listed in their motion, every request that
  8 they propounded, that Defendants objected to on privacy grounds, without even
  9 checking if it was already answered. This is completely improper and sanctionable.
 10 Furthermore, as noted above, it is simply not correct that the Court found that all of
 11 Dr. Zada’s privacy objections should be overruled. The Court simply stated that its
 12 current view without further briefing, was that Dr. Zada needed to provide asset
 13 information as well. It did not find that all RFPs that were objected to on the basis
 14 of privacy must now be answered. What Plaintiffs should have done, besides
 15 meeting and conferring, which they did not do, is dramatically narrow their
 16 requests, and explain why each should be answered. They have not done that for
 17 even one request. For that reason alone, all of their requests should be denied. The
 18 Court should not be required to waste its time attempting to determine if each
 19 request should be answered, without Plaintiffs doing any of the work in providing
 20 such a justification.
 21         Dr. Zada, who has a heart condition, went out of his way to go far beyond the
 22 Court’s July 19 order, by producing virtually all information regarding his assets by
 23 August 1. He did so to minimize motion practice – in vain. He produced all related
 24 documents for Perfect 10 through 2018 as well. The only documents left to
 25 produce are a few credit card statements for inactive cancelled cards that Dr. Zada
 26 has ordered. Zada Decl. ¶ 2, Ex. 1.
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          84          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Plaintiffs have yet to explain why any further investigation into Dr. Zada’s
  2 personal finances and life is necessary, when they have all of Dr. Zada’s tax returns,
  3 bank statements, brokerage statements, all his primary credit card statements, and
  4 will soon all statements that he could reasonably obtain for inactive cancelled cards
  5 from 2013 on. For example, all transfers to the parties listed in RFP 13 are
  6 identified in Perfect 10 and Dr. Zada’s bank statements. Why do they need
  7 anything else?
  8         Plaintiffs must do more than simply contend that because Defendants raised a
  9 privacy objection to a particular RFP, the RFP must now be answered. They need
 10 to show that the RFP has not already been answered, and explain why it is relevant
 11 to their case. For example, RFP 63, all documents concerning Bitcoin or other
 12 cryptocurrency and either Perfect 10 or Norman Zada? Defendants have already
 13 stated that they are unaware of any responsive documents. Why are Plaintiffs
 14 wasting everyone’s time by adding this already-answered request to their motion?
 15 Is it because they want this Court to rule in their favor on all these already answered
 16 requests and then use that ruling to bias Judge Birotte against Defendants? That’s
 17 what happened last time. Or RFP 38, “All documents concerning Perfect 10’s
 18 parent companies, subsidiary companies, affiliated companies, companies under
 19 common ownership, predecessors in interest, and successors in interest. Defendants
 20 have already stated they are unaware of any responsive documents. It is evident
 21 that Plaintiffs have not even bothered to determine if the requests have already been
 22 answered. The court should deny all such RFPs and award sanctions to
 23 Defendants.
 24         The bottom line is this:
 25         The documents that Dr. Zada has already produced completely answer RFP
 26 13, 15, 16, 17, 18, 20, 22, 39, 41, 42, 45, 47, 49, 50, 52, 53, 57, 58, 59, 67, 69 and
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          85          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 74. When the ordered credit card statements arrive and are produced, RFP 51 and
  2 55 will be answered to the best of Dr. Zada’s ability.
  3         Plaintiffs also improperly ask for documents that Defendants have already
  4 asserted simply do not exist. Those requests are RFP 31, 32, 33, 38, 44, 63, and 64.
  5         RFP 26, 65, and 68 improperly request communications between Dr. Zada
  6 and his tax preparer. If the request was limited to communications related to
  7 transferred monies that would be fine, but there are no such communications.
  8         RFP 29 and 30 are way too broad and vague. If they were restricted to
  9 employment contracts, that would be fine, but there are no such contracts.
 10         If RFP 34 were restricted to 2013 and onward, there would be no responsive
 11 documents.
 12         RFP 60 and 61 are incomprehensible. Dr. Zada has already testified that
 13 everything within the safe is his personal property, and has even testified as to the
 14 approximate value of those items at his deposition. It is completely unclear as to
 15 what Plaintiffs are looking for.
 16         RFP 70. Payments made for travel appear on Dr. Zada’s credit card
 17 statements. He may have some documents regarding the actual trip but of what
 18 possible relevance could they be?
 19         Based on recent communications between attorneys for Plaintiffs and
 20 Defendants, it appears that Plaintiffs intend to take the position that a proper meet
 21 and confer on the RFPs took place on June 26. Mickelson Decl. ¶ 2, Ex. 1. We do
 22 not see how a brief conservation which happened prior to the production of any
 23 documents, let alone two productions which included all of Dr. Zada’s personal
 24 financial documents, could possibly be considered a proper meet and confer,
 25 particularly with respect to RFPs that were never mentioned, and have been
 26 virtually all answered. Plaintiffs could have drastically reduced the burden on the
 27 Court by properly meeting and conferring but chose not to do so. The entirely of
 28
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      MOTION TO COMPEL                          86           CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 their motion with respect to their listed RFPs, which were neither identified nor
  2 discussed, should be denied for that reason alone.
  3                2.     Responses that are incomplete and improperly limit the
                          scope of Giganews’s requests (RFP Nos. 14, 19, 23)
  4
            Request for Production No. 14
  5
            All documents concerning assets in which Perfect 10 has had any actual or
  6
      contingent legal, beneficial, or equitable interest at any time since January 1, 2011.
  7
            Response to Request for Production No. 14
  8
            Perfect 10 incorporates the General Objections as set forth above and notes
  9
      that it has already produced most if not all of the discovery requested (see
 10
      paragraph 18) herein.
 11
            Perfect 10 objects to this request on the grounds that it is compound, and also
 12
      vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 13
      burdensome, oppressive and vastly overbroad. Perfect 10 further objects to this
 14
      request as it seeks the disclosure of information protected from discovery by the
 15
      attorney-client privilege and the attorney work product doctrine. Perfect 10 further
 16
      objects to this request on the grounds that it seeks information not relevant to the
 17
      subject matter of the action, and not reasonably calculated to lead to the discovery
 18
      of admissible evidence.
 19
            Subject to the above specific objections and Perfect 10’s general objections,
 20
      Perfect 10 responds as follows:
 21
            Perfect 10 has already produced documents sufficient to identify all such
 22
      assets, which consist of Perfect 10’s bank statements, financial statements, and tax
 23
      returns, its film library, trademarks, domain names, and model releases. To ask
 24
      Perfect 10 to search for more related documents (such as emails detailing film
 25
      purchases, or communications with models) that will not add anything is
 26
      completely unreasonable and onerous.
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                           87         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Request for Production No. 19
  2         All documents concerning accounts of, or for the benefit of, Perfect 10.
  3         Response to Request for Production No. 19
  4         Perfect 10 incorporates the General Objections as set forth above and notes
  5 that it has already produced most if not all of the discovery requested (see
  6 paragraph 18) herein.
  7         Perfect 10 objects to this request on the grounds that it is compound, and also
  8 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
  9 burdensome, wildly oppressive and vastly overbroad, as it is unlimited as to time.
 10 Perfect 10 further objects to this request as it seeks the disclosure of information
 11 protected from discovery by the attorney-client privilege and the attorney work
 12 product doctrine. Perfect 10 further objects to this request on the grounds that it
 13 seeks information not relevant to the subject matter of the action, and not
 14 reasonably calculated to lead to the discovery of admissible evidence. Perfect 10
 15 objects to this request on the grounds that it is indefinite as to time, and covers
 16 documents from years ago that are irrelevant.
 17         Subject to the above specific objections and Perfect 10’s general objections,
 18 Perfect 10 responds as follows: Plaintiffs are already in possession of Perfect 10’s
 19 bank statements, financial statements, and tax returns, from at least 2014 going
 20 back to inception in 1996. Perfect 10 will produce tax returns and bank statements
 21 that may not be in Plaintiffs possession. Perfect 10 is not aware of any other
 22 documents that would shed additional light on Perfect 10’s holdings.
 23         Request for Production No. 23
 24         All documents concerning all contracts or agreements for the benefit of
 25 Perfect 10, in the possession of Perfect 10, or to which Perfect 10 is or ever has
 26 been a party, a beneficiary, a successor in interest, or a predecessor in interest.
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                           88         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Response to Request for Production No. 23
  2         Perfect 10 incorporates the General Objections as set forth above and notes
  3 that it has already produced most if not all of the discovery requested (see
  4 paragraph 18) herein.
  5         Perfect 10 objects to this request on the grounds that it is compound, and also
  6 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
  7 burdensome, oppressive and vastly overbroad. Perfect 10 further objects to this
  8 request as it seeks the disclosure of information protected from discovery by the
  9 attorney-client privilege and the attorney work product doctrine. Perfect 10 further
 10 objects to this request on the grounds that it seeks information not relevant to the
 11 subject matter of the action, and not reasonably calculated to lead to the discovery
 12 of admissible evidence. Perfect 10 objects to this request on the grounds that it is
 13 indefinite as to time, and covers documents from years ago that are irrelevant.
 14         Subject to the above specific objections and Perfect 10’s general objections,
 15 Perfect 10 responds as follows: Plaintiffs are already in possession of Perfect 10’s
 16 bank statements, financial statements, and tax returns, from at least 2014 going
 17 back to inception in 1996, as well as contracts with third parties. Perfect 10 will
 18 produce tax returns and bank statements that may not be in Plaintiffs possession.
 19 Perfect 10 is not aware of any other documents that would shed additional light on
 20 Perfect 10’s agreements that have not already been produced.
 21         Giganews and Livewire’s Position
 22         The responses in this group improperly limit the scope of Giganews’s
 23 requests. Defendants claim that certain unspecified documents (bank statements,
 24 financial statements, and tax returns from “at least” 1996 to 2014) are already in
 25 Plaintiffs’ possession and that Defendants are “not aware of any other documents
 26 that would shed additional light on Perfect 10’s [holdings or agreements].” But the
 27 characterization of what provides “additional light” leaves too much to Defendants’
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          89         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 self-serving whims. The requests seek all documents concerning “accounts of, or
  2 for the benefit of Perfect 10,” “Perfect 10’s finances and financial statements”
  3 generally, and “contracts” concerning Perfect 10. Each is plainly relevant to
  4 Perfect 10’s financial position during the time of the transfers through the present
  5 (see Order at 1), and Plaintiffs are entitled to all responsive documents.
  6         In addition, certain summaries Defendants have already produced in this case
  7 display troubling inaccuracies and discrepancies. For example, Exhibit E to the
  8 Gregorian Declaration is a spreadsheet list of transfers between Zada and Perfect 10
  9 that Zada prepared. The spreadsheet reflects a transfer of $50,000 to Perfect 10,
 10 while Perfect 10’s bank records for that date reflect an incoming debit of only
 11 $40,000. Gregorian Decl. ¶¶ 8–9, Exs. F, G. To avoid these kinds of
 12 inconsistencies, it is necessary to review the underlying documents, not those Zada
 13 believes “shed light” on relevant information. See Hearing Transcript at 25:12–20.
 14         Defendants’ Position
 15         As noted above, all documents concerning all of Perfect 10’s assets have
 16 been produced. As the response notes, there are no documents (other than those
 17 already produced previously to Plaintiffs) regarding Perfect 10’s contractual
 18 relationships. Defendants did not amend their response to RFP 23 because there is
 19 nothing to add. Mickelson Decl. ¶ 3, Exs. 4-5.
 20         Perfect 10’s tax returns and Defendants interrogatory responses, have made
 21 very clear what Perfect 10’s assets have been. There is nothing else to add.
 22 Plaintiffs are correct that Defendants made a $10,000 mistake in one its
 23 spreadsheets. They were able to spot this error because they already have the
 24 underlying documents. We don’t have anything else responsive to produce, nor
 25 have Plaintiffs provided any evidence that anything is missing.
 26
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                         90          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1                3.     Defendants must provide a privilege log for any documents
                          they withhold on the basis of any privilege (All RFPs)
  2
            Giganews’s and Livewire’s Position
  3
            Defendants have interposed privilege objections to most of the requests for
  4
      production, including objections based on the attorney-client privilege and attorney
  5
      work-product doctrine. If Defendants are withholding or expect to withhold any
  6
      responsive documents on privilege or protection grounds, the Federal Rules require
  7
      them to “describe the nature of the documents, communications or tangible things
  8
      not produced or disclosed—and do so in a manner that, without revealing
  9
      information itself privileged or protected, will enable other parties to assess the
 10
      claim.” Fed. R. Civ. P. 26(b)(5)(A)(ii). Giganews and Livewire therefore also
 11
      move the Court to compel Defendants’ production of a privilege log within 14 days
 12
      of the hearing on this motion if they claim to stand on any objection related to a
 13
      privilege or protection.
 14
            Defendants’ Position
 15
            Defendants interposed the attorney-client privilege and attorney work
 16
      product privilege objections purely as a prophylactic, in case the term “documents”
 17
      could be interpreted to mean written communications between Defendants and their
 18
      current counsel of record (Matthew Mickelson) and consulting attorney (Eric
 19
      Benick) which discusses the particular issues, materials or documents mentioned in
 20
      the request for production. All such communications to which the privilege would
 21
      be invoked (to the extent any such exist) would solely be amongst those
 22
      individuals; would not have been shared or disclosed to any other individuals; and
 23
      would be limited in time from November 2015 onward, the date Mr. Mickelson
 24
      first began representing Defendants.
 25
             The privilege is not being invoked to protect any other possible documents.
 26
             A privilege log exists only to enable an opposing party to gauge whether or
 27
      not a particular document is or is not privileged. In a situation where the only
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                           91          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 documents being withheld are communications between attorneys representing a
  2 party commenting on or discussing non-privileged documents – and shared with no
  3 others – than the attorney-client privilege or work product privilege undisputedly
  4 obtains. The information provided above is sufficient to establish on a prima facie
  5 basis the existence of the attorney-client privilege. Given that a prototypical
  6 privilege log is not required in every case (see In re Grand Jury Investigation (9th
  7 Cir. 1992) 974 F.2d 1068, 1071), requiring a current attorney of record to log
  8 several years of e-mail correspondence with a client (hundreds if not thousands of
  9 e-mails) – which was not shared with any other non-lawyers not working for
 10 Defendants and concerns the day-to-day work on a pending case -- would be highly
 11 inappropriate, harassing, and burdensome in the extreme.
 12         Moreover, there was also no meet and confer on this issue, and there was an
 13 agreement in the Related Case not to require privilege logs, to the best of Dr.
 14 Zada’s recollection. Zada Decl. ¶ 6.
 15         We believe that Plaintiffs are seeking a privilege log solely to place an
 16 enormous burden on Defendants for no good reason, in the hopes of once again
 17 generating a discovery dispute to use to further poison Judge Birotte against
 18 Defendants. It is very easy for Plaintiffs to suggest that Defendants provide a
 19 privilege log when Defendants are the only ones who have produced documents.
 20 Plaintiffs have produced none. Defendants respectfully request that if the Court
 21 orders a substantive privilege log, that it be precisely described, so that there can be
 22 no uncertainty as to what documents it covers, and that it not cover emails between
 23 Perfect 10 and its attorneys, or attorney-client work product, and that if the Court
 24 orders that such a substantive log be created, that Plaintiffs pay for it.
 25
 26
 27 ///
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                           92         CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 III.    PLAINTIFFS’ MOTION TO COMPEL FURTHER DEPOSITION
            TESTIMONY OF NORMAN ZADA AND PERFECT 10.
  2
            Giganews and Livewire’s Position
  3
            Plaintiffs also request an order compelling Norman Zada to appear for a
  4
      further questioning both in his individual capacity and as corporate representative
  5
      of Perfect 10. Mr. Zada sat for a deposition on July 11, 2018, during which he gave
  6
      testimony in both capacities. Gregorian Decl. ¶¶ 10–13, Exs. H–K. Plaintiffs
  7
      agreed to have the depositions run concurrently on the condition that Perfect 10
  8
      designate Zada on all topics in the 30(b)(6) notice, and Plaintiffs reserved the right
  9
      to seek additional time, up to the full allotment for the two depositions, if
 10
      necessary. Gregorian Decl. ¶ 10, Ex. H.
 11
            Mr. Zada refused to answer questions he considered “private,” particularly
 12
      questions that sought information about his assets and liabilities. Zada Depo at
 13
      33:25–34:11, 50:21–53:7, 77:11–81:2, 82:20–112:21, 186:24–188:24, 261:4–8.
 14
      The Court has since overruled this privacy objection. See, Order at 1; Hearing
 15
      Transcript at 7:7–13, 18:2–16, 19:15–20, 20:12–21:2, 25:12–20, 28:13–17. Courts
 16
      properly grant additional deposition time where a deponent “had no privilege
 17
      protecting the information sought, and thus must have answered the questions
 18
      posed.” Amy v. Kennedy, Nos. C13-17 RAJ, C13-762 RAJ, 2014 WL 4717800, at
 19
      *5 (W.D. Wash. Sept. 22, 2014) (overruling privacy and relevance objections and
 20
      ordering testimony on assets and other topics). For this reason alone, the Court
 21
      should grant leave to depose Mr. Zada on those topics.
 22
            Mr. Zada also wasted significant time on the record. He was nearly an hour
 23
      late for his deposition. Gregorian Decl. ¶ 13, Exs. I, J; Zada Depo at 2:16–22. He
 24
      also provided non-responsive answers to a host of questions. Instead, he
 25
      complained about Perfect 10’s loss in the copyright case, insulted and accused
 26
      Plaintiffs and their counsel of misconduct, and insisted that counsel answer his
 27
      questions. For example:
 28
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      MOTION TO COMPEL                           93          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1        Q     Were you taking out a mortgage—well, let’s stick with home
  2              improvements. Were there any home improvements that you
  3              were contemplating in January—
  4        A     Look, as I told you before, the probability that I wrote this thing
  5              is virtually zero because I would not put home improvements
  6              on there.
  7        Q     I didn’t ask you whether you wrote it. I asked you whether
  8              there were home improvements or upgrades you were
  9              contemplating—
 10        A     I was taking out the money to have flexibility because I was not
 11              sure what was going to happen, and I realized I might need to
 12              have a bunch of money either to invest or for some other
 13              reasons.
 14        Q     Sure. And—
 15        A     And I object to your trying to paint me as some sort of criminal.
 16              Your clients are the criminals. Okay. I have done nothing
 17              wrong except unfortunately rely on a justice system which is
 18              completely manipulated by your buddy over here, Mr. Bridges,
 19              and you. And you have been systematically filing false and
 20              misleading statements in front of the Court, and I’m tired of it.
 21              Okay. So you want to keep asking these questions. I’ll keep
 22              responding by saying, I am way more honest than you and your
 23              buddy over there, and I didn’t do anything wrong here, and I
 24              know where this home improvements came from, but the
 25              investment purposes certainly was legitimate.
 26 Zada Depo at 184:25–186:2.
 27        Q     Outside the context of this case—
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                        94          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         A     There was no sanctionable conduct. There was no finding of
  2               sanctionable conduct on my part. You guys perpetrated a fraud
  3               on the Court. I can prove it. You guys are—even now when
  4               you make statements like Zada has been involved in discovery
  5               misconduct for ten years, that’s sanctionable conduct. You’re
  6               an officer of the court. I’d like to know what evidence you
  7               have that I’ve been involved in legal misconduct for ten years.
  8               I’m serious about this.
  9               MR. MICKELSON:            You’ve said that already.
 10               THE WITNESS:              Yeah, I know that. But I’m tired of
 11               this guy. This guy is a professional criminal. This guy is lying,
 12               and he consistently lies and he’s been trained to put lies into his
 13               pleadings because somehow that helps him in his cases.
 14               I’m asking you: Where is the evidence that I’ve been
 15               involved—you published—this is a defamatory statement about
 16               me.     And you’re publishing in a public record.            I am
 17               challenging you.     What is your evidence that I have been
 18               involved in legal misconduct for ten years?
 19 Id. at 265:22–266:19. Excerpts showing numerous other similar responses are
 20 attached to the Gregorian Declaration. See Zada Depo at 99:7–100:4, 180:17–20,
 21 184:25–186:2, 264:8–267:17.
 22         The videographer’s time markers indicate that Mr. Zada sat for
 23 approximately six hours on the record. Gregorian Decl. ¶¶ 15–16. Plaintiffs
 24 estimate that Mr. Zada and his counsel wasted an hour on the record with the
 25 conduct described above. Id. ¶ 15; Zada Depo generally. For these reasons,
 26 Plaintiffs ask that the Court grant leave to take four additional hours of testimony
 27 (two for Zada, two for Perfect 10) and that the Court order Defendants to pay the
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                         95          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 expenses (court reporter, videographer, and location fee) for the additional
  2 testimony directly to the vendors.
  3         Defendants’ Position
  4         Plaintiffs request to yet again drag Dr. Zada into a deposition would be silly
  5 if it wasn’t so abusive. Plaintiffs have already deposed Dr. Zada multiple times, for
  6 at least three days in the related case, and one more time for his debtor examination,
  7 and now they are trying to depose him twice more. Zada Decl. ¶ 6.
  8         The seven hour limit for depositions is not to be tossed aside lightly.
  9 (Roberson v. Bair (D DC 2007) 242 FRD 130, 138 [extensions of 7-hour limit
 10 should be exception, not rule].) Indeed, some courts refuse to consider a request for
 11 additional time until the first seven hours have been exhausted. (See Malec v.
 12 Trustees of Boston College (D MA 2002) 208 FRD 23, 24.)
 13         Plaintiffs here are asking for additional time to conduct the deposition when
 14 they admit they didn’t even use up the entire seven hours of allotted time, ending
 15 their examination after only six hours. The fact that Dr. Zada arrived forty-five
 16 minutes late is of no moment; Defendants never asked to cut the time short because
 17 of the later time, and would have sat for the entire 7 hours if asked to. Moreover,
 18 Plaintiffs ignore the fact that they wasted a minimum of 45 minutes of time in
 19 breaks and conferences among the three lawyers who attended the deposition for
 20 the Plaintiffs, which Dr. Zada noted on the record during the deposition.
 21         Plaintiffs contend that Dr. Zada refused to answer questions regarding his
 22 assets at 33:25–34:11, 50:21–53:7, 77:11–81:2, 82:20–112:21, 186:24–188:24,
 23 261:4–8. In fact, he did answer most questions. At 33:25-34:11, Plaintiffs ask Dr.
 24 Zada how he spends his day. At 50-21-53:7, Plaintiffs ask about communications
 25 Dr. Zada had with his tax preparer. At 77:11-81:2, Dr. Zada did identify where he
 26 kept his personal money.
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                          96          CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Plaintiffs have omitted from the 61 pages that they complain about, all the
  2 pages where Dr. Zada discussed the physical assets they complain about. Zada
  3 Decl. ¶ 3.
  4         More importantly, as discussed above, Dr. Zada has provided all statements
  5 for all of his accounts from 2013 to 2018. Zada Decl. ¶ 2, Ex. 1. All of Plaintiffs’
  6 questions regarding Dr. Zada’s personal financial assets have thus been answered
  7 completely and in full. So Plaintiffs are citing to a portion of his deposition where
  8 he occasionally refused to answer questions or provide documents on the basis of a
  9 privacy objection but has since provided those documents.
 10         Finally, Plaintiffs request that Dr. Zada, pay for the additional hours, is
 11 ridiculous, particularly when Plaintiffs have made hundreds of millions by not
 12 paying copyright holders for the use of their works, while Dr. Zada lost most of the
 13 money he had in the world in the related case.
 14 IV.     CONCLUSIONS
 15         Giganews and Livewire’s Conclusion
 16         Even after the Court’s guidance, Perfect 10 and Norman Zada still hide
 17 relevant information from discovery. Mr. Zada also disrupted his deposition and
 18 improperly refused to answer questions. For the reasons set forth above, Giganews
 19 and Livewire respectfully request that the Court grant the motion and enter an order
 20 in the form they have submitted.
 21         Perfect 10’s, Zada’s Conclusion
 22         It is Defendants’ belief that Plaintiffs have filed this joint stipulation, not
 23 because they need any additional discovery, but as part of a plan to so poison Judge
 24 Birotte’s mind that they win the case that way. That is why they filed this motion
 25 without meeting and conferring, and even though they have every imaginable
 26 personal financial document of Dr. Zada’s, from 2013 through 2018. We predict
 27 that if the Court grants any meaningful portion of Plaintiffs’ proposed order, that
 28
      JOINT STIPULATION RE PLAINTIFFS’
      MOTION TO COMPEL                            97          CASE NO.: 2:17-cv-05075-AB (JPR)
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   1 Plaintiffs will come back and claim that Defendants failed to comply, and seek
   2 sanctions, regardless of how complete Defendants production is. They did the same
   3 thing last time, with incredible success. As a result, a company that had been
   4 creating copyrighted works for 18 years, was bankrupted.
   5         Plaintiffs’ clearly have no respect for the Court’s limited resources, the rules,
   6 or the truth. They have failed to properly meet and confer. They ignored
   7 Defendants vast production and amended responses which make their motion moot.
   8 In addition, Plaintiffs have made multiple demonstrably false statements. For
   9 example, in their introduction, they have claimed that “Defendants largely ignored
  10 the Court’s guidance and made a minimal production in response to its order,” and
  11 “Defendants have persistently refused to provide all documents regarding funds and
  12 assets that are nominally Zada’s despite the Court’s clear instructions.” In their
  13 next section, they falsely state that “Mr. Zada’s responses specifically acknowledge
  14 the existence of assets that he has not identified, and he commits to produce only
  15 documents ‘sufficient to show’ information for specific accounts in 2015.”
  16 Plaintiffs also falsely contend that “Perfect 10 and Norman Zada still hide relevant
  17 information from discovery.” However, they provide no examples. This is an
  18 improper smear campaign that needs to stop. Plaintiffs are taking advantage of the
  19 fact that judges have to assume that attorneys are telling them the truth to avoid
  20 complete chaos. Plaintiffs’ attorneys are not.
  21         Dr. Zada went out his way to more than comply with the Court’s July 19
  22 order, which only required him to produce documents relating to his and Perfect
  23 10’s liabilities. Instead, by August 1, he produced virtually everything from 2013
  24 onward, all bank and brokerage statements through 2018, all banking reconciliation
  25 documents that he could locate, all quick books files that he could locate, all tax
  26 returns and most credit card statements. He is awaiting the final batch of credit
  27 card statements which will be produced when they arrive. Perfect 10 had already
  28
       JOINT STIPULATION RE PLAINTIFFS’
       MOTION TO COMPEL                          98          CASE NO.: 2:17-cv-05075-AB (JPR)
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   1 produced all tax returns, financial reports, quick books files and banking statements
   2 since inception.
   3         Plaintiffs have clearly not met and conferred with respect to any requests for
   4 production, a privilege log, or a further deposition of Dr. Zada. Furthermore, they
   5 have failed to give any explanation as to why any additional documents should be
   6 produced, or what does documents are. There is no legal precedent for an order
   7 that requires that documents be produced simply because a privacy objection was
   8 made. There must be a legitimate basis for the request and Plaintiffs have provided
   9 any.
  10         Finally, Plaintiffs have no basis to seek a second deposition of Dr. Zada
  11 when they were the ones who ended the deposition early. Asking Dr. Zada to pay
  12 for such a deposition is preposterous, particularly when Defendants were denied the
  13 opportunity to depose the one person they needed to depose, the CEO of Giganews.
  14         Defendants respectfully request that the Court deny all of Plaintiffs motion
  15 and even award sanctions for making untruthful statements to the Court if it
  16 believes they are warranted. Whatever the Court does, Defendants respectfully
  17 request that at the minimum the Court not issue an order which makes it appear that
  18 Defendants were remiss in their discovery obligations, which Plaintiffs can then use
  19 to further poison Judge Birotte against Defendants. We would respectfully ask the
  20 Court to make clear in any order favoring Plaintiffs, that Dr. Zada more than
  21 complied with this Court’s July 19 order.
  22
  23 Dated: August 20, 2018            FENWICK & WEST LLP
  24
  25                                   By:   /s/Todd R. Gregorian
                                             Todd R. Gregorian
  26
                                       Attorneys for Plaintiffs,
  27                                   GIGANEWS, INC. and LIVEWIRE, INC.
  28
       JOINT STIPULATION RE PLAINTIFFS’
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   1 Dated: August 20, 2018            LAW OFFICES OF MATTHEW C. MICKELSON
   2
                                       By:    /s/Matthew C. Mickelson
   3                                          Matthew C. Mickelson
   4                                   Attorneys for Defendants,
                                       PERFECT 10, INC. and NORMAN ZADA
   5
   6
   7
   8
   9                         ATTESTATION OF SIGNATURES

  10         I hereby attest that the concurrence in the filing of this document has been

  11 obtained from the signatory indicated by a “conformed” signature (/s/) within this
  12 e-filed document.
  13
                                             By:         /s/Todd R. Gregorian
  14                                                     Todd R. Gregorian
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